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                      EXHIBIT 4
                      Filed with Redactions
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                     In re Keurig Antitrust Litigation

                                    Case No. 14-md-2542



Keurig’s Motion for Sanctions against Plaintiffs TreeHouse and JBR (Dkt. No. 1290).

                             The Honorable Sarah L. Cave
                                        January 11, 2022




                                                                                             1
    Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 3 of 85

                  Summary of Argument
   TreeHouse’s internal documents and its own complaint
    establish its duty to preserve began in the Fall of 2013.

   TreeHouse delayed litigation holds to key players for
    months after it planned to sue, and in some cases years
    after it actually brought suit.

   Five Categories of Spoliated Evidence
    1.   Project Charter and communications to customers about the 2.0 launch
    2.   Adam Spratlin and machines procurement
    3.   Salespeople for Ahold and Kroger
    4.   Judy Clark and Away From Home sales
    5.   Craig Lemieux and entry into portion packs

   Keurig seeks targeted relief under Rule 37(e)(1)



                                                                                2
                                Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 4 of 85

                                           Rule 37(e)(1) Prerequisites
                             1. ESI is lost;

                             2. ESI should have been preserved in the anticipation or
                                conduct of litigation;

                             3. ESI was lost because the party failed to take
                                reasonable steps to preserve the information;

                             4. ESI has not been restored or replaced through additional
                                discovery;

                             5. Finding of prejudice to another party from the loss of the
                                information; and

                             6. No sanction is justified unless all prerequisites are satisfied
                                and, even then, only to cure the prejudice.



SOURCE: Fed. R. Civ. P. 37                                                                               3
       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 5 of 85




TreeHouse’s Obligation to Preserve
 Documents Attached in Fall 2013




                                                                                4
                                                 Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 6 of 85

                    Timeline of TreeHouse Actions In Anticipation of Litigation

                                                             Nov. 15, 2013                           Dec. 3, 2013 – TreeHouse PR firm discusses finding class
                                          Legal action discussed at Project                          plaintiffs; bloggers on antitrust concerns - ECF No. 1298-5
                                            Charter meeting - ECF No. 1298-3
                                                                                                                      Dec. 19, 2013 – GC sends Winston & Strawn email
                                  Oct. 30, 2013                                                                       that appears 6X in the Complaint - ECF No. 1298-6
    TreeHouse asserts work production protection
                                               - ECF No. 1298-2                                                                              Jan. 2014 – Further factual follow-up by
                                                                                                                                             Winston – ECF No. 1298-9
                             Oct. 24, 2013
       Foley & Lardner and TreeHouse Law                                                                                                                           Feb. 4, 2014
     Department working on “comprehensive                                                                                                                          First litigation
             defense agenda” - ECF No. 1298-1                                                                                                                      hold - ECF No. 1298-18

Sep. 2013                            Oct. 2013                         Nov. 2013                        Dec. 2013                      Jan. 2014                       Feb. 2014

                                     Oct. 29, 2013
            USA Today Article quoting Keurig CEO
           states that “GMCR ‘plans to introduce a                                     Nov. 20, 2013
                     brewer in 2014 that can reject                                    Keurig FY2013 Q4 Earnings
                   unlicensed pods’” - ECF No. 1298-3                                  Call, ECF No. 2 ¶ ¶ 242, 244
                                                                                                                                                               Feb. 11, 2014
                                                                        Nov. 15, 2013                                                                          TreeHouse sues
  Sept. 10, 2013                                                  TreeHouse says 2.0 has
  2.0 Brewer Announced at                                         “anti-competitive” feature
  “Investor Day” Presentation                                         - ECF No. 1298-3 at 3
  - Stip. II.A.1, ECF No. 1632, ECF No.
  2 ¶ 257


                                                                                                                                                                                            5
                                                                                                                                Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 7 of 85

                         TreeHouse Should Have Issued Litigation Holds Months Earlier

                                        Case 1:14-cv-00905-VSB Document 2                                                   Filed 02/11/14 Page 1 of 44




                                                                                                                                                                                                             I                       Case 1:14-md-02542-VSB-SLC Document 1298-3 Filed 04/22/21 Page 4 of 25
                                                                           UNITED STATES DISTRICT COURT                                                         .JUDGE Ei20GSP.!CI'
                                                               FOR THE SOUTHERN DIST RICT OF NEW YORK                                                                                                        Gi
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                                                                                                                                                                                                                                                                     Context
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                                                                                                                                                                                                             0
                                                                                                                                                                                                             .,,z
                             TREEHOUSE FOODS, INC., BAY VALLEY
                             FOOnS LL(': J1 nrLSTT!RM Fnnn,;;: TN/"
                                                                                                                                                                                                             i:5        Overview of Potential Threat from GMCR                                                             TreeHouse
                                                                                                                                                                                                             m
                                                                                                                                                                                                             z
                                                                                                                                                                                                             -<
          257.   Indeed, Green Mountain's Investor Day slides, dated September l 0, 2013, state                                                                                                              :;;
                                                                                                                                                                                                             r


   that even Green Mountain 's new "interactive" brewer technology that wi ll be used to "recognize                                                                                                                           Current understanding                                             Release timing

   licensed portion packs" and to exclude Competitive Packs is "proprietary and exclusive" -                                                                                                           not               GMCR has announced plans for a                         Q4 2013
                                                                                                                                                                                                                         new Keurig 2.0 brewer (K2.0)                             • In talks with retailers and license
                                                                                                                                                                                                                                                                                    partners about the change
   patented.                                                                                                                                                                                                             Brewer has interactive technology
                                                                                                                                                                                                                         with an anti-competitive feature to                    Q1 2014
                             ...., ........................ ..&"'""' ...................... ...,,.,.....   ••1uu1n<1111 ........ ,\,\, 1,va.::.10..1 :ll,   Ill!.,,   \   VIVI ..... I'-   J,   dllU
                                                                                                                                                                                                                         exclude unlicensed packs                                 • Begin distributing new portion
                             Keurig, Incorporated ("Keurig"), GMC R's wholly•owned subsidiary (collectively, "Green                                                                                                                                                                 packs in the market (to avoid
                             Mountain" or "Defendants"). Plaintiffs allege as follows:                                                                                                                                   K2.0 cups will be backward                                 change over issues for
                                          I.         This is an action for damages and permanent injunctive relief against Green
                                                                                                                                                                                                                         compatible with K1 .0 machines                             consumers at launch)
                                                                                                                                                                                                                         (also uses same production lines)
                             Mountain for violations of Sections I and 2 of the Shenmm Act, 15 U.S.C. §§ I, 2; Section 3 of
                                                                                                                                                                                                                                                                                Sep/Oct 2014
                             the Clayton Act, 15 U.S.C. § 14; and state antitrust and unfair competition s1atutes and common                                                                                            Machine combines features and                             • Launch Keurig 2.0 machine in
                             law of the states of New York, Wisconsin, and Illinois.                                                                                                                                    technology from Keurig and Vue                              the market
                                         2.          Green Mountain has monopolized the market for the sale of single-serve brewers,
                                                                                                                                                                                                                        machines that GMCR says will
                                                                                                                                                                                                                        improve performance and provide
                            as well as the market for the sale of single servings or "portion packs" of coffees or other
                                                                                                                                                                                                             -<         customization to the consumer
                                                                                                                                                                                                             I
                                                                                                                                                                                                             (fJ
                             beverages that are used in those brewers. Green Mountain previously owned certain patents that
                                                                                                                                                                                                             b

                                                                                                                                                                                                             .......w
                                                                                                                                                                                                             0
                            allowed it to exclude competition for the sale of the most popular fonnat of those "portion                                                                                      w
                                                                                                                                                                                                                                                                               Source: GMCR Investor Day presentations and webcasts, Sep 20 13   3
                                                                                                                                                                                                             0,
                                                                                                                                                                                                             0
                                                                                                                                                                                                             0




                                                                                                                                                                                                                                       Source: GMCR Investor Day presentations and webcasts, Sep 2013




SOURCE: THS Complaint, ECF No. 2; ECF No. 1298-3                                                                                                                                                                                                                                                                                                     6
                                                       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 8 of 85

                                               October 2013: TreeHouse Anticipates Litigation

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                                              THS-004143807    10/30/2013   Attorney-Client Privilege,   Confidential document provided to TreeHouse employees reflecting legal advice
                                                                            Work Product                 re ardin liti ation strate v from Fole & Lardner*.




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                                      Work Product only available                                              Must preserve when “when a
                                      when “documents . . . are                                                party should have known
                                      prepared in anticipation of                                              that the evidence may be
                                      litigation or for trial by or for                                        relevant to future litigation.”
                                      another      party      or     its
                                      representative”                                                      Fujitsu Ltd. v. Federal Exp. Corp., 247 F.3d
                                                                                                           423, 436 (2d Cir. 2001).
                              Federal Rule of Civil Procedure 26(b)(3)(A)
SOURCE: ECF No. 1298-2                                                                                                                                                                   7
                                                                                                   Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 9 of 85

                                                                                               October 2013: TreeHouse Anticipates Litigation




                                                                                                  A strategic risk of similar magnitude is our defense of SSB as GMCR introduces

                                                 •                                                its 2.0 technology, designed in part to block the usage of unlicensed K-Cups. This
               Ctiel:t•-rntf.(12S.2•VSS.SI.C~12'08-1FiedtM/22n.1Page2ol17




             Oaobcr14,201J
                                            TreeHouse
                                                                                                  subject will be introduced in next week' s roundtable with senior 1nanagement.
                                                                                                  Project Charter has been initiated in order to 1nount a comprehensive defense
             TreoH<>u<eFoods,loc
             ~dofO.rtc1ors

             GcorgeV Baily
             DianaSFerg...,.,



                                                                                                  agenda linking Foley & Lardner, the Law Depart1nent and the SSB tea1n with
             DcllnisF. Q.lk-N,n
             F1311kJ.ffCOMell
             AnnM. Sanhn,
             ~OSmuh
             TcrdcmaLUsseryll



                                                                                                  outside technology and engineering consultants. This project group will be headed
             Da,idB.VennJlm



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                                                                                                  by a newco1ner to THS, Bill Ford, an experienced strategist recently recruited fro1n
             Tree House, After .,x years of watchful paOC'ntt, our Deal Team h a s ~ a
                                       e;::,:T:;Canxh:m (and USA)_., m C<R martets


             ~AB<lcal,.~llalsoSff\-easam1ltslon,1nourrttumtothc$112t~M&.A




                                                                                                  Boston Consulting Group.
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       HogNyCon-.Pn>duc..:l~toR..,._502(d)O<der
                                                                                                  Highly Confidential Produced Pursuant to Rule 502(d) Order




SOURCE: ECF No. 1298-1                                                                                                                                                                   8
                                                                                                  Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 10 of 85

                                                                                                                                                 Rule 502(d) Order

                                        April 17, 2020

                                        VIA EMAIL
                  Case 1:               Rahul Mukh i, Esq.                                                                                                                                                                  Case l:14-md-0254 2-VSB-HBP Document 571 Filed 04/15/19 Page 1 of 8

            WINST<                      Joseph M Kay, Esq.                                                                                                                                                                     c ase 1:14-md-02542-VSB-HBP Document 570 Filed 04/12/19 Page 1 of 8

            &STRA'.;                    Cleary Gottlieb Steen & Hamilton LLP
                                        One Liberty Pl aza                                                                                                                                                                                        UNITE D STATES DI STRICT COURT

            April 17, 20.:
                                        New York, N Y 10006-1470                                                                                                                                                                             FOR THE SOUTHERN DISTRJCT OF NEW YORK

                                                                                                                                                                                                                          - - -- - - - - - - - -- x
            VIA EMA Ii
            Rahul Mukh
                                        Re:          In re Keurig Green Mo untain Single-Serve Coffee Antitrust l itig. , MDL No. 2542;                                                                                   In re: Keurig Green Mountain Single-Serve           Case No. l : l4-md-02542 (VSB I HBP)
                                                                                                                                                                                                                          Coffee Antitrust Lit igation                        MDL No. 25 42
            Joseph M. K                              Inadvertent Production of Pri vil eged Material s & Production Pursuant to 502(d) Order
            Cleary Gonl1
            One Libeny
            New York, t
                                        Dear Counsel:                                                                                                                                                                     This Order concerns all Related Actions.            Hon. Vernon S. Broderick
                                                                                                                                                                                                                                                                              Hon. Henry B. Pitman
            Re:     lnre
                    Inad                                                                                                                                                                                                  - -- - - - - -- - - --•
                                              As discussed durin g the parties' call on Apri l I 5, we are making .a: grodu ction todax of                                                                                                        1-'./
            Dear Counse                                                                                                                                                                                                                       [Ml     B; STIPULATED ORDER PURSUANT
                                        THS-004 143807 pursuant to th e Ru le 502(d) Order at ECF No. 57 1J 'urther to our emails and                                                                                                           TO FEDERAL RUL E OF EVIDENCE 502(d)
                    As d1
            TH S-004 143~vv~,- ,~. ~
                                   , .~va~u~, ~
                                              ,v-....- ,~
                                                        ....- ,~.~-,~•-, ~
                                                                         - ,~v~..- .~, -~-- ,~ ..~v.- ,~,~, ~ , v~....-. .~,v
                                                                                                                            = vv~,~, ~
                                                                                                                                     ...~.,-,.~.~.. v~ - - - - - - - - - - - - - - - - - - - - - - - - - - - -                   Pla intiffs have challenged certain documents fro m Keurig's privilege logs and
            pUrSUant to Federal Rule of Evidence 502(b) and Paragraph 22 of the Stipulated Amended
                                                                                                                                                                                                                          contemplate challenging additional documents, as discussed in various discussions with the Court.
            Protective Order, I also wri te to inform you that the foll owing documents are partially protected
            from disclosure under the attorney-client pri vilege and were inadvertently produced
                                                                                                                                                                                                                          On March 7, 20 19, fo llowing in camera review, the Court issued its Order on a sampling of such
                    •   T HS-003727965                                                                                                                                                                                                                                                                    d order pursuant
                    •
                    •
                        T HS-0041 15040
                        T HS-004126098                                                                                                                            Therefore, the Court hereby orders that, consistent with Federal Rule of Evidence 502(d),                                               any party in this
                    •   T HS-0041393 95
                    •   THS-004139396                                                                                                                                                                                                                                                                         the assertion   or
                    •
                    •
                        T HS-004139425
                        T HS-0041405 I 4
                                                                                                                                                   producing such documents in this matter (and associated families), or (if the parties agree on this                                                    ;,rivilege will be
                    •   T HS-004140515

                    These documents are bei ng reproduced with redactions. Enclosed with this letter is a
            redaction log pertaining to these documents, which has been designated as Highly Confidential.                                          procedure on a case by case basis) permitting adverse parties in this matter to view such privileged                                                  ~vidence 502(d),
            We identified these documents as having been inadvenently produced after a review initia ted                                                                                                                                                                                                  ties agree on this
            following receipt of your Apri l 15, 2020 emai l providi ng a list of the full universe of documents
            on which Keurig relied as its support to draft footnote 5 of its April 13 letter to the Coun. See Ex
            A at 1-2. In accordance with Paragraph 22 of the Sti pulated Amended Protective Order, we request                                       documents in an effort to resolve privilege disputes, are not in and of themselves a waiver of the                                                    "such privileged

            that Keurig return any printed copies of these documents, destroy any electronic records, notes, or                                                                                                                                                                                           !s a waiver of the
            other records refl ecting the contents of these materials, and com ply with all other appl icable orders

                                                                                                                                                    attorney-client privilege, work product doctrine, and/or any other applicable privilege when such
            and ru les. See e.g.. ECF No . 596.                                                                                                                                                                                                                                                               ilege when such

                                                                                    Sincerely,                                                                                                                                                                                                            j   privilege. Such

                                                                                   Isl Kelli L Lanski
                                                                                    Kelli L. Lanski                                                 production or permission to view is made in response to a challenge of any asserted privilege. Such
            Encl osure
            cc      Counsel for all panics via shortened service list




SOURCE: ECF No. 1388-1; ECF No. 571                                                                                                                                                                                                                                                                                                9
                            Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 11 of 85

                                 TreeHouse Anticipates Litigation


        Your Honor asked for the “earliest document on TreeHouse’s privilege log.”
           Order ¶ (2)(a)(ii) (ECF No. 1674).

        The earliest document is April 22, 2010. The productions in this case include
           documents from 2009.

        The October 30, 2013 work product assertion in ECF No. 1298-2, is the earliest
           work product assertion that relates to this litigation.


                                    Attorney-Client Privilege,   Confidential document provided to TreeHouse employees reflecting legal advice
                                    Work Product                 re ardin liti ation strate 0 v from Fole & Lardner*.




SOURCE: ECF No. 1298-2                                                                                                                           10
                             TreeHouse Should Have Issued Litigation Holds Months Earlier
                                                                          Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 12 of 85




         TreeHouse told its own Board of Directors that Keurig “[a]nnounced in Nov that non-licensed
          cups would not function in K2.0 brewer” and repeated that in its Complaint.


             Latest Developments on K2.0 Situation                                                         Tree House
                                                                                                                                 242.   In November 2013 , in the wake of increased competition from TreeHouse and
                          KG M's Recent Actions                                     K2.0 Brewer Details

               • Announced in Nov that non-licensed                        • Primary new feature is the ability to
                                                                                                                         other Competitive Cups following the expiration of Green Mountain 's K-Cup Filter Patents,
                 cups would not function in K2 .0                            brew a 28-ounce carafe
                 brewer                                                      -   Uses a deeper version of the Vue pack   Green Mountain announced that it would "launch a new lineup" of 2.0 K-Cup Brewers over the
                                                                                 (new SKUs to be introduced)
               • Met with top retailers to discuss K2 .0
                 and attempted to steal PL business                          Will include Vue functionality
                                                                                                                         next twelve months with an anticipated release date in Fall 20 14.
                   -    No one was shown new brewer or                       (strength and temp.) with K-Cup and
                        cups                                                 Vue pack compatibility
                   -    Terms of PL offer were not disclosed
                                                                           • Will be same price point
                        but incl uded a page of stipulations
                                                                           • Brewer will show a phone number
                                                                                                                                244.    As Brian Kell ey stated during a conference call with financial analysts on
               • Announced on Jan 29 th more
                                                                             and web site to contact when you
                 features about the K2 .0 brewer
                                                                             attempt to brew an unlicensed               November 20, 2013 , 2.0 K-Cup Brewers "will not brew unlicensed Competitive Cup] packs."
                                                                             portion pack
                                                                                                                         Green Mountain Q4 201 3 Earnings Call, Transcript at 4-5 (Nov. 20, 2013).



             TreeHouse Foods Board of Directors Meeting - Feb 5-6, 2014




SOURCE: ECF No. 1298-13; THS Compl., ECF No. 2                                                                                                                                                                        11
                                                                        Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 13 of 85

                        November 2013: TreeHouse Executives Discuss Suing Keurig


                                                                                                                  David Vermylen
                         4ll
                  TreeHouse
                                                                                                                  TreeHouse
                 Strat~gic Planning for SSB
                                                                                                                  Former President & COO
                 Steering Group Update #1


                              Case 1:14-md-02542-VSB-SLC Document 1298-3 Filed 04/22/21 Page g of 25

                                                                                                              1          Q:   So at this point the law department
                  3-Prong Defense Approach for GMCR Threat
                                                                                                              2    is talking with external counsel about a

                        0                                                                                     3    potential legal action against Keurig?
                                                       • To be assessed by our Law
                                                                                                              4               MR. BADINI: Objection, beyond the
                            Legal Action                 Department with external counsel


                        8
                             Reverse                   • Determine if GMCR taggant                            5    scope.
                                                         technology can be replicated and
                            Engineering
                                                                                                              6          A: I would assume that
                                                         applied to our products


                        8
                             Customer
                            Collaboration
                                                      • Engage retailers with regard to
                                                        the issue
                                                                                                              7    to be correct, given that’s what’s written
                                                                                                              8    there.


                                                                                                           May 1, 2020 TreeHouse Dep. Tr. 258:1-8
                                                                                                       8




SOURCE: ECF No. 1298-3; ECF No. 1298-4                                                                                                                              12
                                                                                      Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 14 of 85

                  December 2013: H+K Sends PR Plan To Complement Legal Strategy
                                                                                                                       ,
                                                                                                                           Legal Focus. ''David v,ersus Goliath" .strategy
                 Case 1:14-md-02542-VSB-SLC           Document 1298-5 Filed 04/22/21          Page 2 of 3
                    HILL + KNOWLTON



                    Memorandum

                    To :    Tom O' Neill
                                                                                                                              •   Identify legal bloggers and re ~orters who might question antitrust
                    From:
                    Re :
                            Ron Bottrell
                            H+K Strategies Initial Brainstorm on 2.0 Issue
                                                                                                                                  implications of 2 .0 technology
                                                                                                                                     o Example: Pitch .a column in Packaging Digest by Legal Ed itor
                    Date:   December 3, 2013


                    H+K Strategies was asked by TreeHou se Foods to provide some topline
                    th inking on a possible PR response strategy to GMCR 's announced launch of                                          Eric Greenberg, with whom H+ K has longstand ing relationsh ip
                                                                                                                              •
                    Keurig 2.0. Ou r immediate reaction was that THS cannot passively wait until
                    2.0 hits the market in 2014 to gauge consumer reaction or take legal action.
                    By that time , it wil l be too late; GMCR will be aggressively trying to convert
                                                                                                                                  Identify (20ssible P-laintiff's law firm that might initiate Class Action
                    Sturm's retailer customers in the meantime . We now have evidence that
                    process has already begun.                                                                                    lawsuit on behalf of consumers of non-GMCR QOds
                                                                                                                              •
                    In our brainstorm YR posed two questions:
                                                                                                                                  Provide litigation support to THS if a suit is filed against GMCR. Use
                       1) What can THS do to shore up retailer loya lty and prevent direct
                          customers from switching to GMCR licensed coffee supplier?
                                                                                                                                  suit .as, trig,g ering ev,e nt to inform and motivate consumer r,e actlons .
                       2) What pressure tactics might discourage GMCR from using the
                          technology to block unlicensed pods?

                    Objectives:                                                                                            Messaging1: Mirror the Legal Strategy Arguments
                            Plant seeds of doubt in retailers minds about the legality and possible
                            consumer backlash from supplier switch.
                       •    Alert consumers to planned obsolescence of their Keurig machines and
                            inability to use non-GMCR licensed pods.                                                       The otential Rublic knowledge of loss of business from a major customer
                    Tactics:
                                                                                                                           makes the "We're not concerned" res onse ring untrue. Whatever the
                    Retailer Focus: " Don't alienate private label consumers ."
                       •    Conduct Focus Groups of Walmart consumers or other major retailer
                            consumers who are current purchasers of private label pods.
                                                                                                                           grounds for litigation against GMCR (but not retailers) might be should also be
                            Determine reactions to possible switch of suppliers. Use consumer
                            reactions as part of presentation to dissuade retailers from switching                         the THS public positioning .
                            private label coffee suppli ers.
                                o Focus Groups would be handled by H+K Research partner RDI

                                                                                                                           The outline above represents our initial thoughts minus research and more
                                   (Research+ Data Insights) which recently conducted similar
                                   focus groups to persuade retailers for another major food
                                   processor. This work can be done quickly and cost effectively in
                                   the Chicago market.
                                                                                                                           detaiii ledl backgroundliing. We will gladly meet 1,0 disc,uss in greater detail and
                    Consumer Focus: 0 We want choice and value, not a monopoly."
                       •    Identify potential coffee bloggers who might protest 2.0 monopoly.
                            Identify potential initiator of Change.erg petition to FTC to prevent
                                                                                                                           provii de budget estimates for agreed upon tactics.
                            monopolization of single serve coffee market.




        HIGHLY CONFIDENTIAL                                                                            THS-003685058




SOURCE: ECF No. 1298-5                                                                                                                                                                                            13
        December 2013: GC and Winston & Strawn Quickly Receive Email Cited in
                                                                                               Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 15 of 85


                                    Complaint
                   Case 1:14-md-02542-VSB-SLC Document 1298-6 Filed 04/22/21 Page 3 of 4

               Sturm Foods


                                                                                                                                                                                     R.AJONES
               1250 Industrial Lane
               Ma nawa, WI 54949                    From: Eastburn, Joe [mailto:Joe.Eastburn@rajones.com]
               920-596-5141 Office
               920-562-1401 Cell                    Sent: Thursday, December 19, 2013 10:48 AM
                                                    To: Spratlin, Adam
               From: Eastburn, Joe     ii
               Sent: Thursday, December 1           Cc: Molen, Randy
               To: Spratlin, Adam
               Cc: Molen, Randy                     Subject: Decline to Quote
               Subject: Decline to Quote




                                                                                                                                                                                                                            WINSTON
               Adam,
                                                    Adam,
               I'm quite embarrassed to be
               the new mach ine for soluble,




                                                                                                                                                                                                                            &STRAWN
               this type of equipment was: if       I'm quite embarrassed to be writing this email, but it needs to be done. R.A Jones is declining to quote
               rules. Last year, our CEO gav
               busi ness again. The legal agr       the new machine for soluble, non-filtered product. As you are well aware, our initial position regarding
               Since that time, our leadershi       this type of equipment was : if the cup goes in to a Keurig brewer, we cannot quote it. We all knew the
                                                                                                                                                                                                                                            LLP
               the new leadership came a ne
               etc. When I submitted my RF          rules. Last year, our CEO gave all of the sales people the go-ahead to start pursuing non-filtered
               desk. While the verbiage doe
               business due to risk. I've basi_
               sides. Eventuallytheagreem
                                                    business again. The legal agreement apparently left some room for interpretation.
                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               interpretation. That revised agr eement will not be completed in time for Sturm to react on this
               project. We can build equipment for all types of packages, just not k-cups or anything that goes into a
               Keurig brewer.
                                                                                                                                                                                                                            from: O'Neill Thomas
                                                                                                                                                                                                                                        1
               I can imagine this causes problems for Sturm, because you now have to start over with another OEM. I
               can only offer my sincere apology. From my own personal perspective, it's very frustrating because I                                                                                                         Sent! Thursday, December 19, 2013 3:07 PM
               feel that I'm alienating a great customer in Sturm Foods. I can only hope t hat when the agreement is re -
               visited, you' ll take my phone call. We're still able and happy to support Sturm with their existing                                                                                                         To: Sruc.-e A, Toth
               equipment (parts, service, ret~~~~illlllllWll.l:l.!..l..llllll.lJlll:lll~lll&:i.w:ll!,l,,ll!Wllll:l,l,.liilllllll.i..---4- , , - . . . . ; - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - .
               project, because we'd be wor
               for the opportunity. Pleased
                                                                                                                                                                                                                            Subject: FW: 0€dine to Quote
               Joe Eastburn
                                                      From: Lemieux, Craig
               Sales Manager                          Sent: Thursday, December 19, 2013 12:04 PM
               R.A Jones & Co.                        To: O'Neill, Thomas
               807 West Kimberly Rd , Da
               P: (563) 343-5506
               www.rajones.com
                                                      Subject: Fwd: Decline to Quote
                                                  r·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·1
                                                  .                                 .
                                                                                                                                                                                     TreeHouse
               A Company of Coesia Gro
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                                                       Redacted i

               Thi s email has been scanne             Be.gin forwarded message:


        HIGHLY CONFIDENTIAL                                                                                      THS-004099072




SOURCE: ECF No. 1298-6                                                                                                                                                                                                                                                  14
                                                                               Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 16 of 85

                                                  January 2014: Winston & Strawn Remains Involved

                                                                                                    Pririleg:e Brld D:eu,ription of 'Subj ttt Matter, Including
                                                            BeginBatr:s              Date
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                                                                                                  :Client           ,. • D. ebb* • ...
                                                                                                               O'Neilli*                     :\. Badini*· - Herbi.s.oo, *, B.
                                                                                                                oth .C:. fochler\ ,. Reed!,. D. 1\ ermylen, C. Sl.'irVlli
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                                                                                                                                                                                                                                                                                                                                                           this message      Inc.
                                                                                                                                                                                                                                                                                                                                                                        and any


                                                                                                                                                                                                                 Fro~: Torpey, Susannah P. [mailto:STorpey@winston .com]                                    ..
                                                                                                                                                                                                                 Sent. Thursday, February 06, 2014 8:40 AM
                                                                                                                                                                                                                 To: Lemieux, Craig
                                                                                                                                                                                                                 Cc: ?'Ne~II, Thomas; Osborn, _Jo; Badini, Aldo A.; Toth, Bruce A.



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                                                                                                                                                                                                                 Craig,
                                                                                                                                                                               l'h11rsday,Fcbn.iary6.20145.0

                             From : Badini, Aldo A. [mailto:ABadini@winston com]
                             Sent:,Tu_esda y, January 28, 2014 13:36 PM    .
                                                                                                                                                              S11hj..-1·       ~m~";::;·1:t::;"~";:;;;:~
                             To: 0 Neill, Thomas
                             Cc: :0th, Bruce A.; Torpey, Susannah P.
                             SubJect: Factual FollOW' Up




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                             Dear Tom,                                                                                                                        W~ don'tha,,.,todo-,ythinl;w~hthis. V""should
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                             Best regards,
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                                                                                                                                                                                                                 Tha nks again!
                                                                                                                                                            HIGHLY CONFIDENTIAL


                                                                                                                                                                                                                 Best regard s,
                                                                                                                                                                                                                 Susannah



SOURCE: ECF No. 1298-8; ECF No. 1298-10; THS Privilege Log
                            Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 17 of 85

                                 TreeHouse Anticipates Litigation


       TreeHouse again asserts work product in December 2013 and January 2014.
           These documents have not been produced.
                                                                              Privilege      Brief Description of Subject Matter,
                                             Beg;i.nlhtes     Date
                                                                              Asserted           lncludine: Basis for Privilee:e
                                           THS--00354.'.i~    12 '5'20B      Attorney-     Confidential email from T. O'Neill*
                                                                             Clie.nt       containing legal advice oonc.eming
                                                                             Privileg e;   product sales and prepared in
                                                                             W ork         anticipation ofhtigation.
                                                                             produc.t



                                           THS-003 5~ 560'.   12 ':i"-2013   Attorney-     Confidential memorandum providing
                                                                             Client        information for the purpose of obtaining
                                                                             Privilege;    le.g al advice concerning product sale.s
                                                                             'iVork        and prepared in anticipation of litigation.
                                                                             produc.t



                                           THS--00395 -138    1 13 014       Attorney-     Confidential email thread between T.
                                                                             Client        O'Neill*, 1.0sborn* and TreeHouse
                                                                             Privile e;    e-mployees both c ontaining and
                                                                             \Vork         requesting leg al advice regarding
                                                                             product       customer communic.ations and sent in
                                                                                           anticipation ofhtigation.




SOURCE: THS Privilege Log
                              Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 18 of 85

           TreeHouse Should Have Issued Litigation Holds Months Earlier
   TreeHouse says that Keurig “removed the uncertainty by publicly confirming the 2.0 Brewer
    would include a ‘lock-out’ on February 5, 2014, the day after TreeHouse issued its first round of
    litigation holds.” Opp. at 3.

        In its Complaint, TreeHouse alleged only that Keurig “reiterated” brewer transition plans announced in November
         2013. ECF No. 2 ¶ 247.

   TreeHouse’s counsel at Winston & Strawn also suggests that Winston only began drafting
    TreeHouse’s complaint on January 28, 2014, but the relevant date is when TreeHouse should
    have “reasonably anticipated litigation,” and the evidence shows that date was months earlier.

      “The duty to preserve arises, not when litigation is certain, but rather when it is ‘reasonably
         foreseeable.’” Alter v. Rocky Point Sch. Dist., 2014 WL 4966119, at *8 (E.D.N.Y. Sept. 30, 2014)
         (collecting cases).

   The evidence overwhelmingly shows that TreeHouse should have been preserving data for
    months by the time it filed its complaint.


                                                                                                                           17
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Spoliated Evidence Category #1:
        Project Charter
 Sam Reed, Bill Ford, And Other Members
           of Project Charter




                                                                                 18
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                                                        Project Charter Leadership
                                                                           Case 1:14-md-02542-VSB-SLC Document 1298-3 Filed 04/22/21 Page 24 of 25




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                                              0           Stakeholders and Project Team                                                                                    IreeHouse
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                 TreeHouse                    r

                Strategic Planning for SSB
                Steering Group Update # 1
                                                                                                                       Steering Group
                                                                          Sam Reed                       Chris Sliva                Tom O'Neill                David Vermylen



                                                                                                                 Project Coordination
                                                                                                 Bill Ford          Craig Lemieux                 Harry Overly


                                                         I'
                                                               Sales & Marketing
                                                                                            /
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                                                                                                        Legal                       R&D / Engineering                 Procurement
                                                                  Keiran Kelly                        Jo Osborn                       Adam Pawlick                     Travis Eloe
                                                                Marty Reynolds                     External counsel                  Samantha Peskie                   Tom Jarona
                                                         \..                       /                                     ,,,   '-
                                                                                                                                      Adam Spratlin                                  ,,,

                                                                   Finance
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                                                                  Jay Winton                          Erik Kahler                     Ken Neyhard                      Judy Clark
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SOURCE: ECF No. 1298-3                                                                                                                                                                          19
                                                                          November 2013 to January 2014:
                                                                                Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 21 of 85


                                                                   TreeHouse Spoke with Customers About Key Issues

                                                                                               Customer Scorecard for K2.0                                                                                                                                                                                                                  Treef.Iouse
               ca,e11'-md-02M2-VS8-SLC Doc:umenl1298-13 FiledCW22/21 Page2ot8




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                       TreeHouse
                      Coffee Roundtable Update                                                                                                                                            • Moving PL business to KGM in Sep 2014

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                                                                                                                                                                                          • Meeting scheduled for Feb 7th


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                                                                                                                                                                                          • Meeting scheduled in Fe'b 141h


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                                                                                                                                                                                          • Felt KGM put too much emphasis on machines and
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                                                                                                                                                                                            that strate will fail ; SSB oin to bid Se 2014

                                                                                                                                                                                     • New machine had no added consumer benefits


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                                                                                                                                           Negative
                                                                                                                                                                                   · • Will stay the course; think PL will break the 2.0 code

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                                                                                                 Source: 2014 Budget Analysis; 1. 2014 Budget is projected Net Sales,
                                                                                              TreeHouse Foods Board of Directors Meeting - Feb 5-6, 2014




SOURCE: ECF No. 1298-13 at Slide 7                                                                                                                                                                                                                                                                                                                                                             20
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    TreeHouse Failed to Preserve Documents About Customer Meetings

 Treehouse produced notes from meetings with only 2 of the 8 customers
  referenced in ECF No. 1298-13 (Exhibit M).

 However, in its proposed stipulation, TreeHouse made a number of new claims
  that it produced emails produced from the retailers referenced in the exhibit.
  TreeHouse searched its productions for the domain of the retailers, but:
    Treehouse’s count of “retailer” emails actually picks up volumes of immaterial documents
     such as mass mailings and purchase receipts through e-commerce.

    For Walmart, TreeHouse included emails for WM.com, which is the domain for Waste
     Management, Inc., not Walmart.

    The searches bring back very few emails about the 2.0 Brewer and none about the
     November 2013 to January 2014 meetings at issue in Keurig’s spoliation motion.


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                       Keurig is Prejudiced by Loss of Data

 The records of meetings that exist (e.g., ECF Nos.1298-13, 1298-14, 1298-
  15) show that TreeHouse had the opportunity to talk with retailers, retailers
  generally intended to stay with TreeHouse. Mot. at 5-6.
 Evidence about these meetings is material to showing that Keurig’s claims
  were susceptible to neutralization. Nat’l Ass’n of Pharm. Mfrs., Inc. v. Ayerst
  Laboratories, 850 F.2d 904, 916 (2d Cir. 1988) (antitrust plaintiff must show
  challenged statements were not susceptible to neutralization).
 The notes would specifically counter claims by TreeHouse witnesses that a
  Keurig “scare tour” with purported false statements related to the 2.0 was
  material or caused retailers to “immediately” switch to Keurig for private
  label packs and reduce promotions on TreeHouse packs in 2013 and 2014.
  Mot. at 5-6.


                                                                                              22
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Spoliated Evidence Category #2:
  TreeHouse Machine Access
                       Adam Spratlin




                                                                                23
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                                                            Mr. Spratlin is a Key Custodian
        Mr. Spratlin is TreeHouse’s Director of Engineering. His emails show TreeHouse was satisfied
         with Rychiger and stuck with it because Rychiger makes excellent machines. Mot. at 8-10.

        Mr. Spratlin deleted his sent emails until instructed to preserve documents in 2017.
                        20           Q:   Okay. And were there times when -- well,       13   BY MR. MUKHI:

                        21     why don't you describe -- what happens to your sent       14        Q:    Okay. And that continues until today?

                        22     mails then around this -- this time frame? Is             15        MS. HUDGENS: Object to foJ:lll.

                        23     there -- are they all saved? Are they regularly           16   BY MR. MUKHI:

                        24     removed? What is going on with the sent e-mails           17        Q:    The practice with respect to regularly

                        25     around this time frame?                                   18   cleaning out the sent items?

                         1            MS . HUDGENS : Object to foJ:lll , calls for       19        A:    Yes.

                         2     speculation .                                             20        Q:    Okay. Was there ever any occasion when,

                         3           THE WI'INESS : I cleaned out my inbox -- sent       21   since you started your career until today, when you

                         4     · nbox on a frequency and then delete them.               22   were not regularly deleting your e-mails, your sent

                         5     BY MR . MUKHI :                                           23   e-mails?

                         6           Q:   Okay . And how frequently do you do that?      24        MS. HUDGENS : Object to form .

                         7           A:   I don't know .                                 25        THE WI'INESS: No.

                         8           Q:   Okay. And is that -- has that been --

                         9     how long has that been true , your practice with
                        10     respect to sent e-mails?                                   Adam Spratlin
                        11           MS . HUDGENS : Object to foJ:lll.                    February 26, 2020 Deposition
                        12           THE WI'INESS:   Since the beginning of my career.
                                                                                          52:20-53:25


SOURCE: ECF No. 1298-7, Spratlin Dep. Tr. 52:20-53:25                                                                                               24
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                                          TreeHouse Spoliated Mr. Spratlin’s Emails

               Mr. Spratlin’s total email volume increases more than 16 times when comparing 2014 (when he was not under
               hold) to 2017 (when he was under a hold for the majority of the year), and Mr. Spratlin’s sent email increased 63
               times over the same period.
      70%
                                                                                                                           Jan. 25, 2017
                                                                                                                         Litigation Hold
      60%

                      % of Total Email Produced
      50%
                      % of Total Email That Is Sent
      40%



      30%



      20%



      10%



       0%
                  2010               2011             2012            2013            2014             2015           2016          2017

SOURCE: Keurig Mot. at 9-10 & Fig. 1, ECF No. 1290                                                                                         25
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                         Keurig is Prejudiced by Loss of Data

 TreeHouse tries to minimize Mr. Spratlin’s role as being on a “single, notable email”
  (Opp. at 13), but Mr. Spratlin’s role is significantly broader: Mr. Spratlin had primary
  responsibility for procuring machinery and negotiating with suppliers, including
  Rychiger.


 TreeHouse claims that Mr. Neyhard, Mr. Lemieux, Mr. Jarona, and Ms. Maus are
  substitutes for Mr. Spratlin, but Mr. Spratlin is the only custodian on 94.7% of his
  emails with Rychiger.


 TreeHouse claims that its failure to place Mr. Spratlin under a hold for years after filing
  their complaint was justified because he was not “mentioned” in the complaint (Opp. at
  4), but the Complaint quotes an email exchange between Mr. Spratlin and R.A. Jones a
  half dozen times.


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              Keurig Accurately Estimates Custodial Volumes

 Keurig analyzes TreeHouse’s productions by custodian using the total number of
  emails produced. Counting TreeHouse emails that way allows Keurig to accurately
  estimate the volume of custodial files.

 TreeHouse’s CustodianOther field is populated at the “document level.” When
  TreeHouse uses this field to estimate “custodial productions,” it includes copies of
  documents across the production that never appeared in a custodian’s files.




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                                                                                                                                        Exemplar “CustodianOther” Field

           Email Custodian is Robin Borchelt                                                                                                                                                          Attachment Custodian is Robin Borchelt
                                                                                                                                                                                                      35 CustodianOthers for "Attachment":
                                                                                                                                                                                                        Adam Pawlick        Keiran Kelly
              From :
                                Borchelt, Robin </Qz THS/OU=FIRST ADM IN ISTRATIVE
                                GROUP/CN=RECIPI ENTS/CN=BORCHELR>
                                                                                                                                                                                                        Adam Spratlin       Ken Neyhard
                                                                                                                                                                                                        Bob Baker           Laura Soller
              Senl:             Friday, August 14, 2015 1:20 PM
              To:               Andy Young <andrewy@ hwyounginc.com>



                                                                                                                                                                                                        Bobby Moorhead      Martin Reynolds
              Subject:          Fwd: Staples- Java Roast
              Atlach:           Slaples delivered pricing6- 12 cudsx; ATTOOOO l .hlm




   From:
                              Borchelt, Robin </O=THS/OU=FIRST ADMINISTRATIVE                                                                                                                           Bonnie Koplien      Mauricio Santana
   Sent:
                              GROUP/CN=RECIPIENTS/CN=BORCHELR>
                              Friday, August 14, 2015 1:20 PM
                                                                                                                                                                                                        Chris Sliva         Michael Stanek
   To:                        Andy Young <andrewy@hwyounginc.com>                                                                                                                                       Craig Lemieux       Robin Borchelt
   Subject:                   Fwd: Staples- Java Roast
                                                                                                                                                                                                        Dennis Riordan      Sam Reed
   Attach:                    Staples delivered pricing 6-12 ct.xl sx, ATT00001.htm
                                                                                                                                                                                                        Doug Molden         Samantha Peskie
                                                                                                                                                                                                        Gary Schachter      Steve Foster
                   Thank you,

                   Robin


                   From: Borchelt, Robin
                   Sent: Friday, August 07, 201S 3:01 PM
                   To: 'Jaime Karol'
                                                                                                                                                                                                        Greg Pollard        Tara Maus
                                                                                                                                                                                                        Gretchen Crawford   Tim Vesely
                   Cc: AndrewY (andrewy@hVNQUnginc.com)
                   Subject: RE: Staples- Java Roast




                                                                                                                                                                                                        Harry Overly        Tom Jarona
                   Hi Jaime, thank you for our telephone conversation today. 1 understand that you r company is already set
                   up with Bay Valley Foods .ts a customer.

                   As discussed, we are setting up six items for Staples under the Java Roast brand. These items are all 2.0


                                                                                                                                                                                                        Harry Walsh         Tom Rothers
                   compatible and can work in any Keu rig brewers that take the single cup.

                   I have attached the beginning of the Item set up inf ormat ion. I have requested the UPS and GTIN numbers


                                                                                                                                                                                                        Jeff Carey          Travis Eloe
                   from Yumi. She should have them by mid -week.


                   ftlf!!!E


                                                                                                                                                                                                        Joshua Isenberg     TreeHouse
                                                                                             I have requested delivered pricing
                   - it might be Monday now before I get it to you.




                                                                                                                                                                                                        Judy Clark          William Ford
                   Minimum Orders:

                   Delivered                                                                                                                       HIGHLY CONFIDENTIAL              THS-0000 19 151



           HIGHLY CONFIDENTIAL                                                                                         THS-000019 148
                                                                                                                                                                                                        William Ritcey




SOURCE: THS-0000019148, THS-0000019151                                                                                                                                                                                                         28
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               Keurig Accurately Estimates Custodial Volumes

 The Court found that the ESI order did not require the CustodianOther data at the
  family-level and burden of compelling reproduction of TreeHouse's metadata
  outweighed the benefit. ECF No. 921.

 In so holding, the Court observed that “Keurig has been able to deduce several
  custodians as to whom it believes TreeHouse’s document production is deficient.”
  ECF No. 921 at 5.




                                                                                             29
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Spoliated Evidence Category #3:
 TreeHouse Had No Lost Sales
  Gretchen Crawford, Bobby Moorhead,
              Tom Rothers




                                                                                30
                   Ms. Crawford, Mr. Moorhead, and Mr. Rothers
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                             Sell to Ahold and Kroger

               Bobby Moorhead
            Director of Retail Sales
                                                                                            Tom Rothers
                                                                                       Director of Retail Sales
              Gretchen Crawford
        Business Development Manager




              OOAhold
            : sTOP&SHOP.
                                                                                                         ®




TreeHouse                                                             TreeHouse


                                                                                                                  31
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                                         TreeHouse Spoliated Ms. Crawford’s Email
                88.7% of emails before 2016 are outgoing emails, indicating Crawford did not consistently retain other emails,
                including incoming emails she received prior to being notified of a hold. In 2017, Ms. Crawford’s document mix
                changes noticeably.

                                                                                                                             Jan.25,2017
     9,000

     8,000

                      Outgoing Email
     7,000
                      Incoming Email
     6,000            and Other

     5,000

     4,000

     3,000

     2,000

     1,000

         0
                  2009            2010             2011        2012           2013           2014           2015      2016       2017

SOURCE: Keurig Mot. at 11 & Fig. 2, ECF No. 1290                                                                                           32
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                                 Ms. Crawford is a Key Custodian

        Gretchen Crawford was a Business
           Development Manager responsible
           for Ahold retail sales starting in
           2012. Mot. at 11.

        Ms. Crawford testified that she was
           the “primary point of contact” for
                                                                                - -
                                                                         19          Q:    Okay. But you were the primary point of

           Ahold. Mot. at 11.                                            20
                                                                         21
                                                                                contact?
                                                                                     A:     Correct.



        Ms. Crawford’s emails show that                                   Gretchen Crawford
           Ahold left TreeHouse for Keurig                                 July 18, 2019
                                                                           34:19-21
           because Keurig offered competitive
           pricing and merchandising
           opportunities. Mot. at 10-11.

SOURCE: ECF No. 1298-28                                                                                                              33
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                                         TreeHouse Spoliated Mr. Moorhead’s Email
                 From 2009-2015, TreeHouse produced just 790 emails from Mr. Moorhead’s files compared to 8,643 emails sent
                 to or by him over that period as shown in other custodians’ files. The volume of his responsive email produced
                 from his files increased three-fold the year he was put under a litigation hold.

       12,000
                                                                                                                            Custodial   To/From
                                                                                               Mar. 20, 2017
                                                                                                                             Emails      Emails
                                                                                       Litigation Hold Sent
       10,000
                                                                                                                     2009       2         51
                                                                                                                     2010      14         49
        8,000
                   -•- Custodial/Dupe Custodial Emails
                                                                                                                     2011      38         264
                   -•- To/From Emails
        6,000                                                                                                        2012      157       1,246
                                                                                                                     2013     220        1,529
        4,000                                                                                                        2014      194       2,682
                                                                                                                     2015      165       2,822
        2,000
                                                                                                                     2016     1,041      3,534
                                                                                                                     2017
           0                                                   •                                                              9,150      9,572

                 2009       2010        2011       2012      2013     2014      2015       2016       2017



SOURCE: Keurig Mot. at 12 & Fig. 3, ECF No. 1290                                                                                                  34
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                           Keurig Is Prejudiced By Loss of Data

 TreeHouse claims that Mr. Overly, Mr. Baker, Mr. Kelly and Mr.
  Lemieux are the custodians that corresponded with Ahold. This is
  not true and TreeHouse cites no evidence for it.
         Bobby Moorhead
      Director of Retail Sales


  Business Development Manager

                                              Only custodian on
                                                                                        OOAhold
           Harry Overly                        4.6% of emails
      Chief Customer Officer

             Bob Baker                        Only custodian on
        Vice President, Sales                    3% of email                                                Only a custodian
                                                                                                              on 4 emails
            Keiran Kelly                      Only custodian on                                      Craig Lemieux
    Senior Vice President, Retail               1.3% of email                                     President, Beverages

                                                                                                                               35
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                                                 TreeHouse Spoliated Mr. Rothers’ Email

                Mr. Rothers’ custodial files prior to 2014 are significantly less than emails to or from him contained across
                TreeHouse’s productions; the emails produced after his 2014 retirement are largely automated mass notifications.


       2,000                                                                                                                  Custodial   To/From
       1,800      -•- Custodial/Dupe Custodial   - -J~~~'-- - - - - - - - - - - - - 1                                          Emails      Emails
                      Emails
       1,600
                                                                      Left Company                                     2009       4          32
                  -•- To/From Emails                                   Oct. 2014
       1,400                                                                                                           2010       22        40
       1,200
                                                                                                                       2011       20        320
       1,000
                                                                                                                       2012      168       1,841
                                                                                                                       2013      164       1,718
         800
                                                                                                                       2014      341        989
         600
                                                                                                                       2015     1,098       200
         400
                                                                                                                       2016      871         82
         200
                                                                                                                       2017       63          3
           0
                 2009       2010        2011         2012      2013      2014        2015   2016     2017



SOURCE: Keurig Mot. at 13-14 & Fig. 4, ECF No. 1290                                                                                                 36
                                                                Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 38 of 85

                                                             TreeHouse Spoliated Mr. Rothers’ Laptop



                                                                                                                           From:                             Lanski, Ke lli L. <KLanski@winston.co m >
  From: Lanski, Kelli L. [mailto:KLanski@winston.com]                                                                      Sent:                             Friday, November 1, 2019 10:31 AM
  Sent: Tuesday, October 8, 2019 1:49 PM                                                                                   To:                               Kay, Joseph
  To: Kay, Joseph <jkay@cgsh.com>                                                                                          Cc:                               Brannon, Leah; Malm, Larry; Torpey, Susannah P.; Freedman, Alan;
  Cc: Brannon, Leah <lbrannon@cgsh.com>; Malm, Larry <lmalm@cgsh.com>; Torpey, Susannah P.                                                                   mackenzie.baird @bipc.com; Fitzgera ld, Megan P.; Mu khi, Ra hul;
                                                                                                                                                             wende lyn ne.newton @bipc.com
  <STorpey@winston.com>; Freedman, Alan <afreedman@cgsh.com>; mackenzie.baird@bipc.com; Fitzgerald, Megan P.
                                                                                                                           Subject:                          RE: In re Keurig - Tom Rothers
  <MFitzgerald@winston.com>; Mukhi, Rahul <rmukhi@cgsh.com >; wendelynne.newton@bipc.com
  Subject: RE: In re Keurig- Tom Rothers
                                                                                                                           Joe,
  Joe,
                                                                                                                           As you know, Mr. Rothers retired in 2014, and as we previously informed Keurig, his responsibilities were winding down
  We did not lose or discard Mr. Rothers' computer; rather, we did not collect it because we did not agree to collect      at the time the case was filed. In response to Keur ig's initia l request to add Mr. Rothers as a custodian, Susannah
                                                                                                                           informed Larry back in October 2018 that we had tried to get in touch with Mr. Rothers on several occasions after he left
  it. We did agree to produce his emails and produced over 20,000 documents on which he is a custodian. It is remarkable
                                                                                                                           TreeHouse, without any success. As a result, we did not commit to collecting and producing anything beyond his emails.
  that you insist we provide an explanation for something we did not agree to do when Keurig did agree to collect
                                                                                                                           In response to your more recent inquiries about Mr. Rothers, we have worked diligently to attempt to get in touch with
  computers for several key custodians whose computers Keurig did lose, without providing any explanation as to how        him by phone, mail, and with the assistance of current TreeHouse personnel. Unfortunately all of these efforts have
  those computers were lost.                                                                                               been unsuccessful. TreeHouse does not currently have a copy of his work-issued computer, and at this time, we have no
                                                                                                                           additional information concerning Mr. Rothers' document storage practices while at TreeHouse.




SOURCE: ECF No. 1298-33                                                                                                                                                                                                                                37
                  TreeHouse’s Admission that it Lost Mr. Rothers’ Laptop Came After Denials;
                                                                                                                                                       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 39 of 85


                                     Mr. Rothers Was A Full Custodian


                                             -"""'-
                           Case 1:14•md·02542•VSB·SLC Document 1298·32 Filed 04/22/21 Page 2 of 4                                                                                                                                                        Case 1:14•md•02542•VSB·SLC Document 1347-13 Filed 05/21/21 Page 2 of 3


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                                                                                                                                                                                                                                                                                                                                                                                               F•12122944700
                                             RE : ln.eKGH · D l l < - - , - ~e ,eCus10,u. ...
                                                                                                                                                                                                                                                                         LU>
                                                                                                                                                                                                                                                                                                                                                                                SUSANNA H P. TORPEY

            From:                           Malm, Larry                                                                                                                                                                                                                                                                                                                                             {212)29-1-4690
                                                                                                                                                                                                                                                                                                                                                                                          ST~1l'"inS1<,,u;a11
            To :                            ''Torpey, Susannah P."                                                                                                                                                                            October 4, 2018

            Cc:                             Brannon. Leah; Danzig. Lisa: Mackenzie Baird; Leiden. Diana Hughes; Wendy Newton; Lanski. Kelli                                 L.;   Lehrman. Shanna A.;   !::l.illeL.
                                           w.llL: Badini A!do A                                                                                                                                                                               VIA EMA IL

            Subject:                        RE : In re KGM - Discovery Correspond ence re Custod ians                                                                                                                                         Larry Malm, Esq
                                                                                                                                                                                                                                              Cleary Gottlieb Steen & Hamilton
            Date:                           Monday, Octob er 8, 2018 1: 33: 00 PM                                                                                                                                                             2000 Pennsylvania Avenue
                                                                                                                                                                                                                                              Washington, DC 20006

                                                                                                                                                                                                                                              Re:         /11 re Ke11rig Green Mo1111fai11 Single -Serve Coffee A111i1r11s1 Li1ig., MDL No. 2542: Custodians

                                                                                                                                                                                                                                              Dear Larry
            Susann ah,                                                                                                                                                                                                                               First of all, I just want to note that I am very surprised by how you have mischaracterized what I
            That' s ri ght. We arc addi ng the 12 you requ ested besides Degnan based on the understandin g that you arc add in° the 4 fu ll                                                                                                  communicated during our last meet and confer. I hope this is due to the fact that you did not have someone
                                                                                                                                                                                                                                              taking notes during the call as opposed to someth ing intentional. This was one of the reasons why I had
            custodian s (Carev. Moorhead. Santana. and Rolhers) pl us the targeted search of the other (S harpe). And eve1y one reserves their                                                                                                asked to exchange positions in writing

        ~   rights on oth ers. And none of thi s appli es lo the custodi ans we have requested of JBR.                                                                                                                                                 In any event, you are correct that despite our objections we are willing as a compromise to produce




r
 ,,oj
                                                                                                                                                                                                                                              documents for Messrs. Carey, Moorhead, and Santana, as well as the relevant folder discussed for
                                                                                                                                                                                                                                              Mr. Sharpe. To reiterate what we discussed on the call , we have not been able to reach Tom Rothers given
                        SaitrmmmyiPhone                                                                                                                                                                                                       his retirement in 2014, but expect our client wi ll be willing to produce his email even ifwe cannot locate
                                                                                                                                                                                                                                              him
                        On Oct 8, 2018. •1 8:25 AM , Malm , Lar,y <lmalm @;cgslu;om<rogj)tp')p Pim cpb f'l)[p »    \Ho!<



                        W< agroo ihM tho ISSUCS 1da1od lO Tm:Jk,o .., and K... rigcustodions do not need lO go lO tho Court 011his lim<. •d W< do not inknd
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                        bul"'CJon0111«d10Jd;,a1cthoi.,..c.andalt $iJc:,"""r<Sc"·c 1hcirrigh1>
                                                                                                                                                                                                                                                                                                                                                  SUSANNAH P. TORPEY
                        LarryM:ilm
                                          Su,cn & llamihoo LI.P                                                                                                                                                                                                                                                                                                                                                           Pai1ner
                        20001'am,yl,·                                                                                                                                                                                                                                                                                                                                                          (212) 294-4690

                                      Keurig produced from
                        ; ·:~i;g~';j!




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                                                                                                                                                                                                                                                                                                                                                                      STo1pey@ winston.co111
                        clcaryeonlid>
                        25)A-H2F-25                                                                                                                                                     October 4, 201 8
                                   12 custodians in reliance
                        257Cl lctb3-I
                        26oolot.>-lDKI
                        )l)O&J l)l,l(
                        !COORufo&r
                                                                                                                                                                                                                                              documents of interest from Ms. Peskie from the fi les of nu merous custodians. To the extent you are seeki ng



                                  , on this agreement
                        From : Lchnn
                                                                                                                                                                                                                                              h .. f,l .,..,_ f,u:.. ,. .,1;., c=o1-,.,..,i i o~ ,..,   ,.,., h~ "" ,. ·   """' h .. r,.nh ,. t   .,;,h ,h.._,..., ., ;1 .,....,_..,1:,.,.. ,....;..,.,cil _,.J., -,. 1
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                        ToWcndi· N<· - - -




                                                                                                                                                                                             In any event, you are correct that despite our objections we are willing as a compromise to produce
                                                                                                                                                                                    documents for Messrs. Carey, Moorhead, and Santana, as well as the relevant folder discussed for
                                                                                                                                                                                    Mr. Sharpe. To reiterate what we discussed on the call, we have not been able to reach Tom Rothers given
                                                                                                                                                                                    his retirement in 2014, but expect our client will be willing to produce his email even if we cam1ot locate
                                                                                                                                                                                    him.



SOURCE: ECF No. 1298-32; ECF No. 1347-13                                                                                                                                                                                                                                                                                                                                                                                            38
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                              Mr. Rothers is a Key Custodian

 Mr. Rothers was Director of Sales at TreeHouse. Mr. Rothers’ emails show
  that Kroger left Treehouse for reasons other than the challenged conduct.
  Mot. at 12-13.
 TreeHouse claims that Mr. Rothers’ responsibilities were “winding down” in
  2014 (Opp. at 12), but TreeHouse cites no evidence for that.
 The emails produced with Mr. Rothers show that he remained active at least
  through Summer 2014:
   ̶   TreeHouse shared at least four of Mr. Rothers’ emails from March 2014 through August
       2014 with Rossana Klawon (former Kroger) reflecting alleged key conversations between
       Kroger and TreeHouse, including direct communications between Rothers and Klawon
       produced from the files of others, e.g., ECF No. 1342 at ¶¶ 44, 48, 49, 59.




                                                                                                 39
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                       Keurig Is Prejudiced By Loss of Data

 TreeHouse also says that TreeHouse there was no prejudice because Keurig
  received documents from Mr. Baker and Mr. Overly.

 TreeHouse cites no evidence to support its claim that Mr. Baker is an
  appropriate substitute (Opp. at 12).

 TreeHouse says that Mr. Overly had “primary responsibility for cup sales” to
  Kroger. But the testimony TreeHouse cites says Mr. Overly was “chief customer
  officer” and the only testimony TreeHouse cites specific conversations with
  Kroger are regarding the 2.0, not general responsibilities for being the Kroger
  contact.

 Mr. Rother’s replacement (Ms. Soller) is the only custodian on 95.5% of Kroger
  emails in 2017.


                                                                                              40
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Spoliated Evidence Category #4:
TreeHouse Was Outcompeted at
    Away From Home Sales
                            Judy Clark



                                                                                41
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                                                              Ms. Clark is a Key Custodian
                 Ms. Clark was TreeHouse’s Senior Vice President. Ms. Clark’s emails show that TreeHouse failed to
                  meaningfully compete in the away from home channel by its own choice, even though other Keurig
                  competitors built distributor networks.
                 TreeHouse claims that Ms. Clark led the “condiments” division, but she testified she was in charge of all
                  AFH including single-serve until summer 2016 when TreeHouse first divided its AFH sales team by
                  product category.

              4           Q:   And what did you do next?                                 3           Q:   So when did you stop having responsibility for
              5           A:   I went into sales in the fall of 2014, leading            4     the Food Away From Home division?
              6     our Food Away From Home sales division.                              5           A:    So the company restructured over the summer of
              7           Q:   And what did that role entail?                            6     2016, going into '17, and took the Food Away From Home
              8           A:   That role entailed leading our sales and                  7     team and split up them out so that the each had
              9     marketing team that sold, you know, within the food                  8     specific category responsibility within the divisional
           10       service channels, the national accounts, broad-line                  9     structure the company moved to. And so while I
           11       distributors, GPOs, the gamut.                                      10     maintained most of the Food Away From Home sales and
                                                                                        11     team, because the division I led was the condiments
                                                                                        12     division for the sales group there, and most of our

           20             Q:   Are there any other major categories of                  13     sales fell under that. We had Food Away From Home

           21       customer in the Food Away From Home business?                       14     resources in the other divisions as well.

           22             A:   There are. There's OCS, there's vending, and
           23       there's C-store that are traditionally considered Food
           24       Away From Home.
                                                                                       Judy Clark
                                                                                       June 21, 2019 Deposition
                                                                                       13:4-11, 20-24; 18:3-14

SOURCE: ECF No. 1388-4 (Clark Dep. Tr. 13:4-18:19)                                                                                                         42
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                                             TreeHouse Spoliated Ms. Clark’s Emails

               In 2015 before she was under a litigation hold, TreeHouse produced about 5,700 emails from Ms. Clark but
               approximately 89% of them appear to be calendar items. From 2016 to 2017, this unusual pattern normalizes
               with only 2% of her emails made up of calendar items.

    20,000

    18,000

    16,ooo            Calendar Entries

    14,ooo            Other

    12,000

    10,000
                                                                                                                     Mar. 1, 2016
     8,000                                                                                                      Litigation Hold Sent
     6,000

     4,000

     2,000

         0
                  2010              2011             2012            2013             2014            2015            2016             2017

SOURCE: Keurig Mot. at 15 & Fig. 5, ECF No. 1290                                                                                              43
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                              Keurig is Prejudiced by Loss of Data

   TreeHouse also says that Keurig has documents from:
     ̶   Mr. Schachter, but Ms. Clark replaced Mr. Schachter. Mr. Schacter’s files do not cover the key 2014-2016 time
         period when Ms. Clark was in charge but not under a hold.
     ̶   Mr. Pollard, but Mr. Pollard was not placed under a litigation hold until 2017 even though TreeHouse’s lawyers
         spoke with him about gathering evidence for this litigation a year earlier (Mot. at 15 n.52; ECF No. 1298-35)
     ̶   Ms. Borchelt, but Ms. Borchelt left the role in summer 2015
     ̶   Mr. Ritcey, but Mr. Ritcey sold to broadline, a narrow segment within AFH



   TreeHouse says that it produced nearly 20,000 documents with three customers it claims were “lost” to
    challenged agreements, but fails to describe the contents of any of those emails or to respond to
    Keurig’s specific claims of spoliation


   Regardless, Ms. Clark is unique.




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Spoliated Evidence Category #5:
       No Delayed Entry
                       Craig Lemieux




                                                                                45
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                                Mr. Lemieux is a Key Custodian

   Craig Lemieux worked at TreeHouse from 2009 to 2018. TreeHouse concedes that Mr.
    Lemieux is a key custodian (Opp. at 11).
   The evidence produced shows:
    ̶   There were not high barriers to entry by TreeHouse. Contra THS Compl. ¶¶ 81-83 (claiming
        “substantial technological know-how, research and design, and capital investment required.”)
    ̶   Treehouse was not delayed in entering unfiltered portion packs because of any challenged
        agreement. Contra ECF No. 1298-25 (Reply Report of Lauren J. Stiroh ¶¶ 133-138).
    ̶   The “gating item” for TreeHouse’s launch of its unfiltered packs was TreeHouse’s own consumer
        testing, which found that consumers significantly preferred Keurig’s fresh brewed coffee over
        TreeHouse’s instant coffee product.




                                                                                                        46
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                                         TreeHouse Spoliated Mr. Lemieux’s Emails
                  TreeHouse produced only 1,088 emails (excluding attachments) from Mr. Lemieux’s custodial files for the five-
                  year period spanning 2009 through 2013. During the same 2009-2013 period, Mr. Lemieux sent or received at
                  least 11,865 emails (excluding attachments) that Keurig is aware of based on documents produced from other
                  custodians.
      14000
                                                               Feb. 5, 2014                                              Custodial   To/From
                                                          Litigation Hold Sent •                                          Emails      Emails
      12000
                                                                                                                  2009       0         179
                  -•- Custodial/Dupe Custodial Emails
      10000                                                                                                       2010     130         667
                  -•- To/From Emails
                                                                                                                  2011     193        1,853
        8000
                                                                                                                  2012     387        4,758
        6000                                                                                                      2013     378        4,574
                                                                                                                  2014     6,689     11,417
        4000
                                                                                                                  2015     7,841     12,400
        2000                                                                                                      2016     7,460     10,456
                                                                                                                  2017     9,150     12,640
           0
                   2009       2010       2011      2012    2013      2014     2015     2016       2017



SOURCE: Keurig Mot. at 17 & Fig. 6, ECF No. 1290                                                                                               47
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                       Keurig is Prejudiced by Loss of Emails

 TreeHouse claims that Keurig received documents on TreeHouse’s decision
  to enter single-serve from Mr. Reed, Mr. Vermylen, Mr. Overly, Mr. Reynolds,
  Mr. Jarona, and Ms. Peskie.

 TreeHouse offers no support for this claim, and it is not correct.

   ̶   Mr. Vermylen is a not a custodian (and accordingly produced no documents)
   ̶   Mr. Reynolds, Mr. Overly, and Mr. Reed, did not work at Sturm when it decided to pursue
       single-serve in 2009.
   ̶   Mr. Jarona’s role was limited to procurement.
   ̶   Ms. Peskie testified “very little was shared” with her and few documents were produced
       from her files.




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Comparison of Motions




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                            Comparison of the Two Motions


                               :<EURIG                                     TreeHouse
                        Data analysis and testimony             Speculation and
      Missing data?     shows unique TreeHouse                  unsupported inferences of
                        data is missing                         unique data loss
                        TreeHouse failures to issue             No showing of causation
                        timely document holds and               based on failure to issue
            Cause?
                        take reasonable steps caused            holds or unreasonable Keurig
                        data loss                               actions
                        Citations to specific evidence No foundation that missing
Favorable evidence?     that spoliated documents       evidence would have been
                        would have been favorable      helpful
                                                                Seeks sweeping Rule 37
                        Seeks targeted Rule 37(e)(1)
                                                                sanctions untethered to the
 Sanctions Sought?      sanctions and minimum
                                                                purported data loss, without
                        necessary to cure prejudice
                                                                showing prejudice

                                                                                                50
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                 TreeHouse Fails The Standard It Sets For Keurig
                                          !430 employees under a litigation hold



  employees
     under
  a litigation
I
      hold




.... • ..
 .. •    I                                                   Keurig: Feb. 2014
                                                                                               51
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Proposed Targeted Remedies for
    TreeHouse’s Spoliation




                                                                                52
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             Keurig’s Proposed Remedies Are Tailored to Cure Spoliation


    Custodian       Through Date                               Likely Contents of Spoliated Evidence
                                       TreeHouse customers did not “immediately” switch to Keurig because of the 2.0
All custodians       Feb. 4, 2014      Brewer. Retailers assumed unlicensed suppliers would reverse engineer the 2.0
                                       Brewer and knew 1.0 brewers were continuing to come into the market.




                                                   Proposed Sanction
                    Precluding testimony from any witness to the effect that Keurig’s purported discussions with retailers
    Rule 37(e)(1)   in 2013 and early 2014 caused major retailers to switch private label suppliers to Keurig or reduce
                    promotional activity of TreeHouse products.


                                                                                                                             53
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              Keurig’s Proposed Remedies Are Tailored to Cure Spoliation

    Custodian       Through Date                               Likely Contents of Spoliated Evidence

Gretchen Crawford    Jan. 25, 2017     TreeHouse was told by Kroger and Ahold that the retailers had reasons unrelated
                                       to the 2.0 Brewer to award private label business to Keurig over other potential
Bobby Moorhead       Mar. 20, 2017     suppliers. Internal TreeHouse documents reflect that Ahold conveyed to
                                       TreeHouse that Keurig offered competitive pricing and merchandising
Tom Rothers           Aug. 2014        opportunities. Kroger worked with Keurig because of Keurig’s lower price.




                                                   Proposed Sanction
                    Precluding testimony from Mr. Rothers, Ms. Crawford, or Mr. Moorhead on their interactions with
   Rule 37(e)(1)
                    their respective retailer customers, Kroger and Ahold.



                                                                                                                          54
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            Keurig’s Proposed Remedies Are Tailored to Cure Spoliation


    Custodian      Through Date                               Likely Contents of Spoliated Evidence
                                      TreeHouse was satisfied with its relationships with its input suppliers. TreeHouse
Adam Spratlin       Jan. 25, 2017     stuck with Rychiger for nearly a decade because Rychiger makes excellent
                                      machines.




                                                  Proposed Sanction
                   Precluding testimony from any witness on a claimed difficulty obtaining inputs or machinery to
   Rule 37(e)(1)
                   manufacture portion packs prior to Mr. Spratlin being placed on a litigation hold.



                                                                                                                           55
                           Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 57 of 85

             Keurig’s Proposed Remedies Are Tailored to Cure Spoliation


    Custodian       Through Date                               Likely Contents of Spoliated Evidence
                                       TreeHouse failed to meaningfully compete in the away from home channel by its
Judy Clark           Mar. 1, 2016
                                       own choice, even though other Keurig competitors built distributor networks.




                                                   Proposed Sanction
                    Precluding testimony from any witness on a claimed difficulty in selling in the away from home
    Rule 37(e)(1)
                    channel through March 2016 when TreeHouse began preserving documents from Ms. Clark.



                                                                                                                       56
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            Keurig’s Proposed Remedies Are Tailored to Cure Spoliation


    Custodian      Through Date                               Likely Contents of Spoliated Evidence
                                      TreeHouse was not delayed by Keurig in launching its unfiltered packs. TreeHouse
                                      was still working on formulation. The ease of TreeHouse’s entry, as likely
Craig Lemieux       Feb. 4, 2014
                                      evidenced in the missing emails from Mr. Lemieux, shows a lack of barriers to
                                      entry in the alleged portion pack market.




                                                  Proposed Sanction
                   Precluding testimony from Mr. Lemieux and any other witness on claimed barriers to entry in the
   Rule 37(e)(1)   portion pack business before February 2014 when TreeHouse placed Mr. Lemieux under a hold for
                   this litigation.


                                                                                                                         57
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       Keurig’s Proposed Remedies Are Tailored to Cure Spoliation


 If fees are to be awarded, they should be awarded to Keurig, not Plaintiffs.

 TreeHouse has routinely sought fees throughout the litigation, including on
  motions that Keurig ultimately won. Keurig is only seeking costs as a last
  resort.

 TreeHouse multiplied Keurig’s costs by refusing to address issues
  cooperatively for custodians at issue in this motion




                                                                                            58
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JBR Failed To Preserve Handwritten
 Notes Of An Alleged Key Meeting
 With Costco, JBR’s Single Largest
             Customer



                                                                                 59
                                                                                       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 61 of 85

                                   JBR Describes the Costco Meeting in its Amended Complaint


                    270.    Rogers and other Compet ing Portion Pack manufacturers have lost At-Home

             customers fo r both pri vate label and branded Portion Packs, and are at imm inent ri sk of losing

             even more, due to Keurig' s marketing efforts geared at disparaging Compet ing Port ion Packs
                                                                                                                                    271.   At a meeting between Rogers and Costco on January 31 , 2014, Rogers was told
             and promot ing the Keurig 2.0 Brewer' s lock out feature. An example of the impact of Keurig' s

             conduct is evident by Rogers' loss of business despite Rogers' low prices and highl y regarded                  that despite having pnces lower than all other suppliers' Portion Packs - including Costco' s
             product.

                    27 1.   At a meeting between Rogers and Costco on January 3 1, 20 14, Rogers was told                    Keurig-made private label   Costco would not be widening distribution for Rogers, or any other
             that despite havi ng pri ces lower than all other suppli ers ' Portion Packs - includ ing Costco 's

             Keurig-m ade private label - Costco would not be widening dist ribution fo r Rogers, or any ot her
                                                                                                                             Competing Portion Pack supplier, until the Keurig 2.0 compatibility issue was resolved. During
             Competing Port ion Pack supplier, until the Keurig 2.0 compatibilit y issue was resolved. During


                                                                                                                             this same meeting, Costco informed Rogers that it would be requiring Rogers to implement a
             this same meeting, Costco informed Rogers that it would be requ iring Rogers to implement a

             design change to it s Costco packaging to in for m customers that Rogers' products were not

             compatibl e wit h the Keurig 2.0 Brewer. Thi s packaging design wi ll undoubtedl y act as a scarl et

             letter branded on Rogers' products that leaves consu mers with the impression that Rogers'                      design change to its Costco packaging to inform customers that Rogers ' products were not
             product is somehow inferior and deters them fro m purchasing its products, even if those

             consumers do not own a 2.0 Brewer.                                                                              compatible with the Keurig 2.0 Brewer. This packaging design will undoubtedly act as a scarlet
                    272.    Other retailers have recently declined to purchase or delayed purchasing decisions

             for Rogers' branded OneCups based on the impend ing introduct ion of the 2.0 Brewer. The
                                                                                                                             letter branded on Rogers ' products that leaves consumers with the 1mpress1on that Rogers'
             Army & Air Force Exchange Service (AAFES) informed Rogers on March 24, 20 14 that it

             would no longer purchase Rogers' OneCups because it would on ly purchase Port ion Packs

             compatible with 2.0 Brewers       Similarly, on Jul y 17, 20 14, the Bon-Ton Stores info rmed a
                                                                                                                             product 1s somehow inferior and deters them from purchasing its products, even if those
             Rogers' distributor that it was not interested in Rogers' OneCups because they will not work

             with the new Keurig 2.0 Brewer. And Meijer has continually delayed its decision to purchase
                                                                                                                             consumers do not own a 2.0 Brewer.
             Rogers ' OneCups due to ongoi ng discussions between Meijer and Keurig relating to the

             impend ing introduct ion of the 2.0 Brewer. The 2.0 Brewer lock out or KAD restri ct ions have
                                                                                                                         I
             caused Rogers to recentl y lose accounts with at least the additional fo llowing potential



                                                                                               FIRST A.\ IEN DED AN D
                                                             65                          SU PPLH IENTAL CO.\ tl' LAINT




SOURCE: JBR Complaint, ECF No. 83                                                                                                                                                                                             60
     Overview of JBR Discussion with Costco & JBR’s Failure to Preserve

Jan. 31, 2014
JBR’s head of Costco sales, Jim
Rogers, meets with Costco
                                                                      Feb. 12, 2019
Privileged discussion regarding                                       Jim Rogers testifies he
“antitrust litigation”, see ECF No. 1298-55                           likely would have thrown
                                                                      away any notes from the
                                                                      Jan. 2014 meeting with
   Mar. 13, 2014 - JBR files initial complaint                        Costco, and has “never
                                                                      been told not to” throw
                                                                      away handwritten notes
     Apr. 3, 2014 - JBR issues first                                  of meetings with retailers,
     litigation holds, see ECF No. 1298-54                            see ECF No. 1298-53



      Nov. 25, 2014
    JBR files amended
        complaint

 2014                     2015                   2016   2017   2018   2019                   2020
                                                                                                    Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 62 of 85




                                                                                                    61
                                              Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 63 of 85

       Jim Rogers Had “Never Been Told” Not To Throw Away Handwritten Notes

         He testified that he would have thrown away any notes of the Costco meeting, and even as of
          February 2019, had not been told to retain such notes.

                  10             Q:   Would there be any notes of a meeting, an        2          Q:   Have you received anything recently,
                  11      in-person meeting with Costco?                               3    reminding you to hold all your documents and not
                  12             A:   Sometimes yes. Sometimes no. Usually,            4    throw anything away?
                  13      handwritten, followed up, thrown away.                       5          A:   I don't believe so, but all our -- all of
                  14             Q:   So if you took any notes at a meeting with       6    our e-mails are archived. And I'm generally not the




                                      -
                  15      Costco in early 2014, you likely would have thrown           7    kind of guy who throws things away. So --
                  16      those away?                                                  8          Q:   What about handwritten notes?
                  17             A:   Yes. Again, you are talking five years           9          A:   Handwritten notes from five years ago, they
                  18      ago.                                                        10    might have gotten thrown away.
                  19             Q:   Is there anybody else who might have            11          Q:   What about handwritten notes today? Would
                  20      attended that meeting and taken notes?                      12    you retain those?
                  21             A:   I don't know.                                   13          A:   If necessary.
                  22             Q:   Did you receive a litigation hold in            14          Q:   Would you throw away handwritten notes of a
                  23      connection with this litigation, telling you not to         15    retailer meeting today?
                  24      throw anything away?                                        16          A:   I have never been told not to.
                  25             A:   No. I don't think so. Again, you are
                   1             talking five years ago.
                                                                                      Jim Rogers
                                                                                      Feb.,12 2019 Deposition
                                                                                      201:10-202:16

SOURCE: ECF No. 1298-53                                                                                                                              62
                              Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 64 of 85

                          Jim Rogers Did Not Recall the Costco Meeting

         Jim Rogers testified that he could not recall the January 31, 2014 Costco meeting when he
          testified in 2019.

                                   24         Q:   Did you have another meeting in Costco --
                                   25    with Costco after your conversation with Ms. Axthelm
                                   1     in December of 2013? Did you meet with Costco on
                                   2     January 31st of 2014?
                                   3          A:   You realize you are talking about five
                                   4     years ago.
                                   5          Q:   I do.?
                                   6          A:   And you also realize that I'm up there very
                                   7     frequently. So I cannot answer that question
                                   8     definitively.




                                 Jim Rogers
                                 Feb.,12 2019 Deposition
                                 199:24-200:8



SOURCE: ECF No. 1298-53                                                                                 63
                                           Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 65 of 85

                                 Keurig Sought Discovery of the Costco Meeting

     Keurig sought deposition testimony from Jim Rogers, who was responsible for
         JBR’s sales to Costco and attended the January 2014 meeting. Keurig JBR
         Reply at 3-4.

     Keurig also sought testimony from Costco employee Shannon Axthelm, who
         also attended the meeting.
                                           14          Q:   Was the compatibility issue a          7         Q:   Do you have any recollection of
           Shannon Axthelm
                                                                                                   8    Costco stopping selling San Francisco Bay
           Costco Wholesale                15     factor in deterring Costco from expanding
                                           16     Rogers into other areas?                         9    OneCups when the 2.0 launched?
           Assistant GMM                                                                           10        A:      No, I don't have anything that
                                           17          A:    Not that I remember.
                                                                                                   11   jumped out at me that we shut them down or
           June 17, 2020                                                                           12   anything. No.
           127:14-17                                                                               13        Q:   I think you told Mr. Burt that
           250:7-18                                                                                14   you don't recall the 2.0 affecting Costco's
                                                                                                   15   distribution of San Francisco Bay OneCups; is
                                                                                                   16   that right?
                                                                                                   17        A:      Yeah, I don't remember if it did
                                                                                                   18   or didn't.

                                                                                               =

SOURCE: ECF No. 1388-22, ECF No. 1298-56                                                                                                                64
                                                                                      Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 66 of 85

                                                                  Keurig Sought Discovery of the Costco Meeting
                                                                                                                  ,      Keurig propounded document requests to JBR
               Case 1:14-md-02542-VSB-SLC Document 1388-15 Filed 06/07/21 Page 2 of 20



                                                                                                                                            13 .   All documents concerning Keurig or Keurig' s products, including:
            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
                                                                                                                             (a) Keurig 2.0 Brewer Compatible Ink; (b) Keurig' s product warranties; (c) Keurig ' s patents;
             fNRE:
                                                                 No. I: 14-md-02542 (VSB)
                                                                                                                             (d) K-Cups; (e) Keurig l.O Brewer; (f) Keurig 2.0 Brewer; and (g) all communications
            KEURIG GREEN MOUNTALN SINGLE-
                                                                 MDL No. 2542
            SERVE COFFEE ANTITR UST LITIGAT ION
                                                                                                                             concerning Keuri g or Keuri g's products between You and any Supplier, Distributor, Retailer, or
            JBR, INC . (D/B/A ROGERS FAMILY
            COMPANY),
                                                                                                                             Consumer.
                               Plaintiff,
                                                                 14 Civ. 4242 (VSB)
                     vs.

            KEURJG GREEN MOUNTAIN, INC. (F/K/A
            GREEN MOUNTAIN COFFEE ROASTERS ,
            INC. AND AS SUCCESSOR TO KEURIG,
            INCORPORATED),                                                                                                                   23.    All documents concerning Your efforts to sell products to or through
                               Defendant.
                                                                                                                              Retailers, whether under a JBR brand, another Brand, or a Private Label , including:

              DEFENDANT KEURIG GREEN MOUNTAIN, INC.'S SECOND SET OF REQUESTS
                  FOR THE PRODUCTION OF DOCUMENTS TO PLAINTIFF JBR, INC.

                           Pursuant to Rules 26, 34, and 37 of the Federal Rules of Civil Procedure (the                                            (d)     all documents concerning Your sales and distribution at Costco,
            "Federal Rules") and Rules 26.2 and 26.3 of the Local Rules of the United States District Courts
                                                                                                                              Staples, Army & Air Force Exchange Service, Bon-Ton Stores, Meijer, Sears, Aramark, Navy
            for the Southern and Eastern Districts of New York (the "Local Rules"), defendant Keurig Green

            Mountain, Inc. ("Keurig"), by its undersigned attorneys, hereby requests that plaintiff JBR, Inc.                 Exchange Service Command, Quill Corp ., Royal Cup Coffee, OfficeMax, Target, and Kroger;
            (d/b/a Rogers Family Company) ("JBR" or "Plaintiff") produce for examination, in spection, and
                                                                                                                              and
            copying, in accordance with the instructions and definitions set forth below and the parties' Joint

            Electronic Discovery Submission No. I (ECF No. 41), at the offices of Buchanan Ingersoll &                                              (e)     all documents concerning Your relationship with any Retailer,
             Rooney PC, One Oxford Centre, 301 Grant Street, 20th Floor, Pittsburgh, PA 15219-1410 (Attn ..
                                                                                                                              including all proposed, executed, or terminated contracts or other agreements, the terms of such
             Wendelynne J. Newton), all documents described below.

                                                                                                                              contracts or agreements (including price and quality terms), and documents concerning the

                                                                                                                              negotiation of such contracts or agreements, as well as documents concerning the ongoing

                                                                                                                              relationships with any Retailer.




SOURCE: 1388-15 pages 10 and 12-13 of 20                                                                                                                                                                                         65
                                                                                       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 67 of 85

                                                                    Keurig Sought Discovery of the Costco Meeting
                                                                                                                   ,       Keurig served interrogatories to JBR
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                                                HIGHLY CONFIDENTIAL


             UNITED STATES DI STRI CT CO URT
             SOUTHERN DISTRICT OF NEW YORK

                           - - - - - - - - - - - - - - - - --- X

              IN RE : KEU RI G GREEN MOUNTAIN                        ECF Case
              SING LE SE RVE COFFEE ANTITR UST
              LITI GATION                                            MDL No. 2542

                                                                     Master Docket No. I: 14-md-2542-VSB

              ----------- X

              !BR, Inc. (D/8/A ROGERS FAMlLY
              COMPANY),                                              I : 14-cv-04242-VS B
                                                                                                            INTERROGATORY NO. 8
                                  Pl aintiff,

                      V.


              KEURIG GREEN MO UNTA IN, INC,                                                                 Identify all existing or potential Customers and partners whose business You lost or failed to attain
                                  Defendant .                                                               as a result of the allegations in Your Complaint; the products, by description and SKU, You did
                                                               X
                                                                                                            not sell and the volume of and revenue from those products that You lost or did not obtain as a
                                                                                                            result of the allegations; the costs You would have incurred had You made those sales; the time
                PLAINTIFF JBR, INC.'S SUPPLEMENTAL RESPONSES AND OBJECTIOr                                  period for which You lost the Customer or partner' s business; and the reasons the Customer or
                                                                                                            partner provided for not purchasing Your products or partnering with You .
                 KEU R IG GREEN MOUNTAIN, INC.'S FI RST SET OF INTERROGATOR

                    Pursuant to Rules 26 and 33 of the Federal Rul es of Civi l Procedure (the " Feder

            and Rules 26.2 and 26.3 of the Local Rules of the Uni ted States Distri ct Courts for the.___ _ _ ___,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __.
                                                                                                                   1
            and Eastern Di stricts of New York (the " Local Rules"), Pl aintiff JBR, Inc. d/b/a Rogers Fami ly

             Company ("JBR"), through its counsel, Dan John son Law Group, LLP, hereby objects and

             responds to the First Set of Interrogatories to JBR, Inc. , served by Defendant Keuri g Green

             Mountai n, In c., freq uently known as Green Mountain Coffee Roasters, Inc ., and as successor to

             Keurig, Incorporated (" Keuri g" or " Defendant") as fo ll ows:




SOURCE: 1388-19 pages 10 and 14 of 26                                                                                                                                                                                         66
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             The Loss Of Meeting Notes Prejudices Keurig

 JBR describes the Costco meeting in its Complaint.


 Costco is JBR’s single-largest customer, and JBR seeks substantial
  damages from alleged lost profits.

 In its most recent submission to the Court, JBR claims it submitted
  “over 20 documents” produced by JBR and other documents
  produced by Costco concerning the subject matter of the January 31,
  2014 meeting between JBR and Costco.” Stip. III.h-i, ECF No. 1632.

 All of the cited documents are outside the motions record, and none
  of them reflect JBR’s allegations about the Costco meeting.


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    None of the Other Cited Documents Corroborate JBR’s Claims


12 of the 23 are scheduling emails



                                                 “I am forwarding info I just received about a lawsuit against
5 are emails from JBR to Costco about
                                                 Keurig.” –Jim Rogers ECF No. 1638 at 133-135; see also ECF
TreeHouse’s complaint
                                                 No. 1638 at 130-132, 154-156, 159-164

                                                 “Am meeting with Shannon and the regions this month.”
2 are emails with WDS Demos (not Costco),
                                                 –Jim Rogers ECF No. 1638 at 128-129; see also ECF No. 1638
before the Costco meeting
                                                 at 140-141.


                                                                                         ECF No. 1638 at 165-166



                                                         ECF No. 1638 at 167-168



                                                                                                                   68
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                                            JBR Documents Do Not Corroborate Claims or Cure Prejudice
                                                                                                                                      ,    One email contradicts JBR’s claim that Costco
                                                                                                                                            said on Jan. 31, 2014 that it was curtailing its
                          Case 1:14-md-02542-VSB-SLC Document 1638 Filed 11/19/21 Page 109 of 170

             From:                 Jim Rogers <JDRogers@rogersfamilyco.com >
             Sent:                 Wed, S Mar2014 IS:3S :03-0S00(EST)




                                                                                                                                            distribution of JBR packs in 2014 due to the 2.0
             To:                   Pete Rogers < Peter@rogersfamilyco.com>
             Cc:                   Jon Rogers <Jbrogers@rogersfamilyco.com>
             Subject:              RE :


              I don't think this impacts us. Shannon, Deirdre and Claudine expressed to me that we were a long standing and valued
              vendor and that we have a great relationship.

              Jim Rogers
                                                                                                                                            brewer.
              Rogers Family Company
              www.rogersfam ilyco.com
              415-717-3892

             From: Pete Rogers
            Sent: Wednesday, March 05, 2014 11:47 AM
            To : Jim Rogers; Jon Rogers

                                                                                                                                            From:           Jim Rogers <JDRogers@rogersfamilyco.com>
            Subject: Fwd:



            Sent from Mars                                                                                                                  Sent:           Wed, 5 Mar 2014 15 :35 :03 -0500 (EST)
                                                                                                                                            To:             Pete Rogers <Peter@rogersfamilyco.com>
              Begin forwarded message:
                                                                                                                                            Cc:             Jon Rogers <Jbrogers@rogersfamilyco.com>
                  From: Bill Kirkpatrick <bkirkpalrick@cameronscoffee.com>
            Dale: March 5, 2014 at 11 :33:41 PST                                                                                            Subject:        RE :
            To: Pele Rogers <Peler@rogersfamilyco.com>


                                                                                                                                            I don't think this impacts us. Shannon, Deirdre and Claudine expressed to me that we were a long standing and valued
                                                                                                                                            vendor and that we have a great relationship.

                        Hi Pete,

                        It was good catching up with you today- thanks for taking my call.
                        The email I referred to is below.
                        I don't know what the basis of this conversation was but Shannon makes it very clear she is
                        worried about the 2.0 brewer.

                        Again, sorry to hear you lost Safeway - Green Mountain has been very aggressive as of late - I
                        view them as our common enemy.

                        Please give me a call when you can.

                        Hello and thank you for the email. We are limi ted to 5 skus max on Single serve pods so we
                        have to be vety carefu l to pick the items that drive the most amount of sales. We do have many




         Confidential                                                                                                  ROG001077677




SOURCE: Moore Decl., ECF No. 1638 at p. 109                                                                                                                                                                                                                        69
                                              Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 71 of 85

                   Costco Documents Do Not Corroborate Claims or Cure Prejudice




SOURCE: Moore Decl., ECF No. 1638 at p. 170                                                                             70
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                          Keurig Seeks Tailored Relief

 “Because Mr. Rogers would not have preserved any
  contemporaneous notes he took, and JBR has otherwise produced
  no documents corroborating its allegations concerning the alleged
  January 31, 2014 meeting, Keurig requests that the Court preclude
  JBR from offering evidence about a purported loss of business at
  Costco.” Mot. at 23-24.

 The Court should preclude JBR from affirmatively introducing
  testimony or using any evidence about Costco purportedly reducing
  (or not expanding) its distribution of JBR’s portion packs in 2014 as a
  result of any action by Keurig. Mot. at 25.




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               Conclusion




                                                                          72
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        Rebuttal Slides




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                                      g. The             and subject matter of the Janua1·y 31, 2014 1neetiug behveeu JBR

                              and Costco (see E,CF No. 1290 at 27)


                                      .A..ttendees of the January 3 L 2014 1neeting benveen JBR and Costco ,vere Jin1 Rogers of

                              JBR and Shannon .A.xthel111. Claudine i\.dmno. and Deircke Bondarev of Costco . Subject 1natter

                              of the n1eeting related to Co tco s plans. for continuing to cany JBR' s OneCup product in light of

                              the nnpending lalmch of the 2.0 brewer and JBR 's plans for adch·e sing ho\\r to seU OneCups in

                              ligh of the anticipated cornpatibihty is ues with the Ketuig 2.0 bre\\rer, including any packaging

                              clarifications to indicate OneCups ,vere not 2..0 cornpatible. fu late 20 ] 3 and early 2014, (a)

                              emails fro1n Co co managers. to po1iion pack seller     (b) internal Costco collllllunications; and




SOURCE: ECF No. 1632 at pp. 167-68.
                                   Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 76 of 85

                                                 Declarations of Michael Sarina
                                  7.         There is every reason to believe that, if the Keurig 2.0 brewer is allowed to launch

                           with a feature - marketed and publicized by Keurig - that locks out competing portion packs and

                           makes them inoperable, Rogers will lose significantly more business. Not only will the launch

                           of the product reduce the consumer base for Rogers' product as current consumers replace their

                           current brewers with the Keurig 2.0 brewer, but may result in confusion among consumers about

                           whether Rogers' product will work even in existing Keurig brewers. For example, Costco,

                           Rogers' original and by far largest customer, already has informed Rogers that it will is

                           concerned about potential customer confusion surrounding Keurig's launch of a Keurig 2.0

                           brewer that will not work with unlicensed portion packs and thus will require Rogers to change
                           its packaging to prominently state that its product will not work with Keurig 2.0 brewers.



                                       11.    When Rogers representatives met with Costco in January 2014 Rogers was told

                            that it would be required to label its boxes to state that its OneCups were not compatible with the

                            2.0. However, no date for commencing the labeling was defined by Costco at that time becau e

                            Costco was uncertain as to the release date of the 2.0. When Keurig accelerated it release date

                            to August of this year Costco then requested that we ticker all boxes with non-compliance

                            labels in order to be consistent with the timing of Kcurig' r lease date.




SOURCE: ECF Nos. 93, 131                                                                                                            75
                                          Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 77 of 85

                                                             Sarina Testimony

               o 166:24-167:21:
                     Q And I believe you said that Keurig met with Costco in December of 2013, and following
                     that meeting Costco communicated with you that it would like you to change your packaging.
                     Is that correct? A Yeah.
                     MR. JOHNSON: Objection, misstates the testimony. You can answer.
                     THE WITNESS: Oh, yes. As I stated earlier, Jim Rogers, who handles Costco, was
                     summoned to the Seattle area where the corporate headquarters of Costco reside, and was
                     told that the company needed to redesign its packaging. We did not know at that point in time
                     when we were going to have to redesign the box or when the 2.0 was going to be released,
                     because all we had heard at that time was maybe the fall.
                     Q. And that communication with Mr. Rogers was made in December of 2013?
                     A. January of 2014.
                     Q. January of 2014?
                     A. January 31st, in fact.



SOURCE: ECF No. 127-17 (emphasis added)
                                  Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 78 of 85

                                           Declaration of Jon B. Rogers

                            38.      I am aware that on Janumy 31 2014, Rogers 111et with representatives from

                     Costco s Srnall Appliances Depaitrnent including Claudine Adan10 VP and General

                     Merchandise Manager; Deirdre Bondarev, Assistant General Merchandise Manager; and

                     Shannon Axthelrn Buyer to discuss Rogers business with Costco. At this rneeting, Costco s

                     representatives explained that Costco would not be widening distribution for any p01iion pack

                     suppliers until the Keurig 2.0 issue was resolved. Thus despite having lower prices than all of

                     the other portion packs available for use in Keurig brewers Rogers ·would not be able to expand

                     its availability of OneCup products at any additional Costco stores. At this same 111eeting

                     Rogers was told that it ·would be required to i111plernent a design change to its Costco packaging

                     that would rnake clear that Rogers products were not co1npatible with Keurig 2.0 brevvers or\ ue

                     Brev-.1ers. Attached as Exhibit 6 is a tn1e and correct cop) of the packaging design rnodification

                     that has been approved by Costco.



SOURCE: ECF No. 86                                                                                                        77
                                                                        Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 79 of 85

                        November 2013: TreeHouse Executives Discuss Suing Keurig


                                                                                                                  David Vermylen
                         4ll
                  TreeHouse
                                                                                                                  TreeHouse
                 Strat~gic Planning for SSB
                                                                                                                  Former President & COO
                 Steering Group Update #1


                              Case 1:14-md-02542-VSB-SLC Document 1298-3 Filed 04/22/21 Page g of 25

                                                                                                              1          Q:   So at this point the law department
                  3-Prong Defense Approach for GMCR Threat
                                                                                                              2    is talking with external counsel about a

                        0                                                                                     3    potential legal action against Keurig?
                                                       • To be assessed by our Law
                                                                                                              4               MR. BADINI: Objection, beyond the
                            Legal Action                 Department with external counsel


                        8
                             Reverse                   • Determine if GMCR taggant                            5    scope.
                                                         technology can be replicated and
                            Engineering
                                                                                                              6          A: I would assume that
                                                         applied to our products


                        8
                             Customer
                            Collaboration
                                                      • Engage retailers with regard to
                                                        the issue
                                                                                                              7    to be correct, given that’s what’s written
                                                                                                              8    there.


                                                                                                           May 1, 2020 TreeHouse Dep. Tr. 258:1-8
                                                                                                       8




SOURCE: ECF No. 1298-3; ECF No. 1298-4                                                                                                                              78
                            November 15 Project Charter Deck
                                          Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 80 of 85




                                           Overvi,ew of 3-Prong Defens.e Strat.egy                            TrcelJ.ouse




                                                                      • Determine if GMCR anti-
                                                                       counterfeit technology can be
                                                                       -epHcated


                                                                      • Partner with retailers to influence
                                                                        the tedhnology change and work
                                                                        on potential joint response




                                                                                                                             8


                             HIGHILY CON FIID'ENT'IAl                                                            THS,0037.27965.0017
                            rr . , . n,




SOURCE: THS-003737965.007
                            November 15 Project Charter Deck
                                Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 81 of 85




  Privilege Log Entry:
  “Redacted PowerPoint
  reflecting confidential
  privileged
  communications with
  counsel, including
  Foley & Lardner*,
  concerning Keurig 2.0
  brewer launch.”
  Attorney-Client




                                                                                                            9


                             HIGHLY CON FIO'ENTIIAI.   ___________ .~ ,.. -.-~-----------
                                                                      ,_,                        THS-003727965.00-8




SOURCE: THS-003737965.008
                                                     Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 82 of 85

                                                                                    Craig Lemieux


                                                                                                                                        Control ID:   THS-004126314
                    Ford , William </O=THS/OU=EXCHANGE ADMINISTRATIVE GROUP                                               Production Bates Begin:     THS-0041263 14
   From:
                    (FYDIBOHF23SPDL1)/CN=RECIPIENTS/CN=FORD, WILLIAM979>
   Sent:            Friday, November 15, 2013 3:51 PM                                                                       Original E-File Source:   \20170206\EV\EV\Ford,William_Export_0001 pst\Top of
   To:              Lemieux, Craig <clemieux@sturminc.com>; Vermylen, David                                                                           Personal Folders\Sent Items
                    <David_Vermylen@treehousefoods .com>
                                                                                                                                 Source File Path:
   Subject:         RE: (Updated : Corrected phone formatting) SSB Strategic Planning - Steering Group Check-in
                    Dial in : 1-888-850-4523 x 214315#                                                                                 Custodian:     William Ford
   Attach:          2013-11-1 S SSB Strategy - Steering Group Update - FINAL.pptx
                                                                                                                          D4 Duplicate Custodians:    William Ford

                                                                                                                                         Filename:    RE: (Updated: Corrected phone formatting) SSB Strategic
   Craig and David, I ~elieve you are the only two joining by phone so I wanted to make sure that you had the materials                               Planning - Steering Group Check-in   Dial in: 1-888-850-
   that we will review in the meeting. Please see attached and treat as confidential as there will continue to be some                                4523   X   214315#
   sensitivity around this topic. Thank you and speak to you shortly.



   Regards,
   Bill




SOURCE: ECF No. 1635-2                                                                                                                                                                                           81
                                                                           Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 83 of 85

                                                                                       Craig Lemieux & Adam Spratlin
                From:             Lcmicu., Craig <cJcmicux1d stunninc.com>                                                          Production Bates Begin:      THS-003686943
                Sent:             Thu rsd ay, December 19 2 13 7 12 PM
                To:               Overl y, Hany < Han y _Overly@bayvalleyfoods.com>
                                                                                                                                      Original E-File Source:    \THS1\THS1\Harry
                Subject:          Fwd: Decline lo Q\,ole
                                                                                                                                                                 Overly\Overly,Harry_Export_0002.pst\Top of Personal
                                                                                                                                                                 Folders\Coffee\Dora\Manufactu rin g

                Begin forwarded message:                                                                                                    Source File Path:
                      From : 11 Vermy len, D avi d u <D avid Ve rn1v len@.treehousefocxts.com>
                      Date: December 19, 20 13, 12:32 :32 PM CST                                                                                  Custodian:     Harry Overly
                      To: "O'Neill , Tho mas" <Thomas Oneill@treehousefoods .com>
                      Cc: 11 Osbo m , Jo 11 <Jo Osbom(cn.trcchouscfoods.com>, " Recd, Sam K." <Sam K rccd@trcchouscfoods.com>,
                      "Sliva, Chris" <Chris Slivaialtreehousefoods.co m>, "Ford, William" <Bill Ford@J.treehousefoods.com>,
                      11
                         Ri ordan, Dennis" <Dennis Ri ordanfaJ treehousefoods.com>, 11 Lemieux, Craig" <clemieuxfrosturm inc.com>   D4 Duplicate Custodians:     Harry Overly
                      Subject: Re: Decl ine to Quote


                    ~
                                         Redacted
                       - - - - - - - - - - - - -- -······--·_j
                                                                               :                                                                   Filename:     Fwd: Decline to Quote
                    On Dec 19, 2013, at I: 16 PM , "O'Ne ill, Thomas" <Thomas Oneill laltreehousefoods.com> wrote:




                                                                                                                                     Production Bates Begin:     THS-003865314
                   Fr om :             Spratlin   dam <aspratlin@ sturm inc.com>
                   Sent :              Thursday, Decembl;L,,l 2, lQ IJ 8 :52 PM
                                                                                                                                       Original E-File Source:   \20170206\Seto03\Set003\neyhardk\neyhardk.pst\Top of
                   To:                 Ney hard, K en <kney hard@sturminc .com>
                   Subj ect:           FW: Decl ine 10 Qj.Jote                                                                                                   Personal Folders\lnbox\Ken's Folders\Ken's Folders\Coffee

                   M y response                                                                                                             Source File Path:
                   Adam Spratlin
                   Dir ector of Engin ee ring                                                                                                     Custodian:     Ken Neyhard
                   Sturm Foo ds
                   1250 Industrial Lane
                   Manawa, WI 54949                                                                                                 D4 Duplicate Custodians:     Ken Neyha rd
                   920-59 6-5141 Office
                   920-56 2-1401 Cell
                                                                                                                                                    Filename:    FW: Decline to Quote
                  From: Spratlin, Adam
                  Sent: Thursday, December 19, 2013 10:53 AM
                  To: 'Eastburn, Joe'
                  Cc: Molen, Randy
                  Subject: RE: Decline to Quote

                   Joe- I understand. Disappointing but I do understand.

                   Happy Holidays.




SOURCE: THS-003686943, THS-003865314 (Versions of Forwards of Underlying RA Jones Email in ECF No. 1298-6)                                                                                                                   82
                                                                                       Case 1:14-md-02542-VSB-SLC Document 1698-4 Filed 01/21/22 Page 84 of 85

                                                                                           Adam Spratlin Email in the Complaint
                    I                                                                                                                      l

             179.         TreeHouse requested a price quote for a new machine, but on December 19, 201 3,                                              182.   The December 19, 2013 R.A. Jones email , explaining that the "agreement" with

     a Sales Manager from RA. Jones responded in an emai l, stating: "I am quite embarrassed to be                                             Green Mountain prohibits RA. Jones from quoting any equipment that could be used to make

     writing this email, but it needs to be done. RA. Jones is declining to quote the new machine for                                          "anything that goes into a Keurig brewer," provides direct evidence that Green Mountain coerces

     solubl e, non-filtered product."                                                                                                          suppliers into entering exclusionary agreements intended to restrain competition between

                                                                                    •FOR·1wr:7·,~:~,~11011                                 I
                                  V.                                                                                                   I

                    II                                                                                                                         Competitive Cup makers and Green Mountain. Because R.A. Jones is free to supply the same
                            I     ~REEN M_'~UNT A!N COFFEE ROASTERS,


                                                                                                                                               equipment for the purpose of making other non-competitive products, the restriction placed on
           180.          Under "the rules," as described by the representative, "if the cup goes into a
                                                                                                                                               supplying machinery used to make Competitive Cups cannot be justified on the basis that it
   Keuri g brewer, [R.A. Jones] cannot quote it." However, R.A. Jones can still "build equipment
                                                                                                                                               ensures a reliable supply when Green Mountain needs equipment. Instead, it is merely intended
   for all types of packages, j ust not k-cup s or anything that goes into a Keurig brewer."
                                                                                                                                               . to cut off Competitive Cup makers' access to machinery that is necessary to compete with Green
                                         I.      This is an action for damages and pennanent injunctive relief against Green               I
                    11
                                  Mountain fo r violations of Sections I and 2 of the Shennan Act, 15 U.S.C. §§ I , 2; Secti on 3 of           Mountain on a level playing field. This agreement, in and of itself, constitutes an unlawful

           18 1.         The Sales Manager expressed hope that the Green Mountain "agreement wi ll be                                          conspiracy in restraint of trade and provides direct evidence that Green Mountain has exercised

   re-written to allow [R.A. Jones] to pursue this [non-filter Compatible Cup machinery] business"                                             its monopoly power by excluding competitors from resources needed to compete with Green

   with TreeHouse. (emphasis added.)                                                                                                           Mountain .




SOURCE: THS Complaint, ECF No. 2                                                                                                                                                                                                                  83
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                                                     Craig Lemieux’s Productions

               THS produced negligible documents from 2009-2013 from Mr. Lemieux’s custodial files even though THS says
               Lemieux was under a continuous document hold since 2010 and was intimately involved in THS portion packs.


                                                                              Lemieux
                                                                           Custodial Emails
                                                                2009                0
                                                                2010               130
                                                                2011               193
                                                                2012               387
                                                                2013               378
                                                                2014              6,689
                                                                2015              7,841
                                                                2016              7,460
                                                                2017              9,150



SOURCE: Keurig Mot. at 17 & Fig. 6, ECF No. 1290                                                                           84
